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Darrve||e Preston v. Citv of Oakland, et al.

United States District Court

Northern District of Ca|ifornia
Case No. C14-02022 NC

lJoint Tria| Readiness Binder

Case 3:14-CV-O2O22-NC Document 106 Filed 08/11/15 Page 2 of 122

ATTACHMENT A

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DAN SIEGEL (SBN 56400)
SONYA Z. MEHTA (SBN 294411)
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SUSAN T. KUMAGAI (SBN 127667)
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Facsimile: (415) 357-4605

Attorneys for Defendants
CITY OF OAKLAND and DEANNA SANTANA

UNITED STATES DISTRICT COURT

NORTHERN DISTRlCT OF CALIFORNIA

DARYELLE LAWANNA PRESTON

Case NO. C14~02022 NC

Plaintiff, TRIAL STIPULATIONS
vs. Date: August 19, 2015
Time: 11:00 a.m.
CITY OF OAKLAND; DEANNA Courtroom: D
SANTANA, in her individual capacity; and Judge: Hon. Nathaniel Cousins,
DOES 1-10, inclusive Magistrate Judge
Defendants. ACtiOn Filed: Ma.rch 17, 2014

 

 

Trial Date: September 14, 2015

 

 

 

TRIAL STIPULATIONS (Case NO. C14-02022 NC)

 

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Case 3:14-cV-02022-NC Document 106 Filed 08/11/15 Page 4 of 122

Plaintiff Daryelle Lawanna Preston (“Plaintiff”) and Defendants City of Oakland (the
“City”) and Deanna Santana (“Santana”) (collectively, the “Parties”) hereby agree to the
following Stipulations for trial:

1. With the exception of Plajntiff, Deanna Santana and the City’s representative, witnesses
are barred from the courtroom until summoned to testify and until such time as they have

been excused

DATED: August 12, 2015 SIEGEL &; YEE

/S/ Dan Sz'e,qel

DAN SIEGEL

Attorneys for Plaintiff

DARYELLE LAWANNA PRESTON

 

DATED: August 12, 2015 LAFAYETTE & KUMAGAI LLP

/s/ Gary T. Lafayefte

GARY T. LAFAYETTE

Attorneys for Defendants

CITY OF OAKLAND and DEANNA SANTANA

 

 

 

TRIAL ST[PULATIONS (Case No. C14-02022 NC)

 

Case 3:14-cV-02022-NC Document 106 Filed 08/11/15 Page 5 of 122

ATTACHMENT B

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Case 3:14-cV-02022-NC Document 106 Filed 08/11/15 Page 6 of 122

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Al'z‘orneysfor Defendanls
CITY OF OAKLAND and DEANNA SANTANA
UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

DARYELLE LAWANNA PRESTON, Case No. 3:14»0\/-02022 NC

Plaintiff, Cornplaint Filed: 3/7/2014

v. DEFENDANT’S TRIAL WITNESS
LIST

CITY OF OAKLAND; DEANNA
SANTANA, in her individual capacity; and
DOES 1 through 10, inclusive,

Final Pretrial Conference Date;

August 19, 2015

Time: 11:00 a.rn.

Defendants. Courtroorn: D (San Francisco)
Magistrate Judge: Nathanael M. Cousins

 

 

Defendants City of Oakland (the “City”) and Deanna Santana (“Santana”)J in accordance
with the Court’s Pretrial Preparation Order dated July 20, 2015, submit the following Trial
Witness List in connection With the above captioned matter.

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///

 

 

 

DEFENDANT’S TR_[AL WITNESS LIST (Case No. 3:14-cv-02022 NC)

 

LAFAYETTE & KUMAGAI LLP

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1 Winnie Anderson

Pla_intifF s alleged protected
acts; union negotiations and
agreements; plaintiff’s work
with unions

3 0 minutes

15 minutes

 

2 Fred Blacl<well

Plaintiff’ s alleged protected
acts; the Rainbow Teen
Center Report and City
Council meeting on March
6, 2012

10 minutes

10 minutes

 

3 Barry Donelan

Plainti~ff s alleged protected
acts; plaintiff s job
performance; union
negotiations; plaintifF s
work With unions

5 minutes

5 minutes

 

4 Trinette Gist-
Sl<inner

Plaintiff’ s alleged protected
acts; facts regarding
negotiations with Local 55
and tentative agreements

20 minutes

10 minutes

 

5 Andrea Gourdine

Legitimate business reasons
for termination; conduct
during investigations

10 minutes

10 minutes

 

6 Donna Hom

Union negotiations; Local
55 tentative agreements

10 minutes

5 minutes

 

7 Scott Johnson

Plaintiff’ s job performance

10 minutes

10 minutes

 

8 Howard Jordan

PlaintifF s alleged protected
acts; plaintiff s work with
unions

10 minutes

5 minutes

 

9 Katano Kasaine

 

 

 

PlaintifF s alleged protected
acts; SEIU negotiations and
grievance

 

40 minutes

 

20 minutes

 

 

 

 

DEFENDANT’S TRIAL WlTNESS LlST (Case No. 3:14-cv-02022 NC)

 

 

LAFAYETTE & KUMAGAI LLP

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Sonia Lara

Plaintiff s alleged protected
acts; union negotiations,
agreements and grievance;
plaintiff s work with unions;
investigations

3 0 minutes

15 minutes

 

11

John Lois

lnvestigation findings
relating to plaintiffs
conduct during investigation

10 minutes

10 minutes

 

12

Dwight McElroy

Union negotiations; SEIU
grievance; plaintiff s work
with unions

5 minutes

5 minutes

 

Alexandra Orologas

Legitimate business reasons
for termination; process for
agenda to City Council;
plaintiffs dissemination of
confidential information;
plaintiff s conduct relating
to City Council meetings

10 minutes

10 minutes

 

14

Barbara Parker

Rainbow Teen Center
Report; SEIU grievance;
Loca1 55 tentative
agreements

5 minutes

20 minutes

 

 

15

Lawanna Preston

Alleged protected acts; job
description; job
performance; legitimate
business reasons for
termination

1 hour

1 hour

 

16

Jean Quan

Legitirnate business reasons
for termination; causation

10 minutes

5 minutes

 

17

 

 

Teresa DeLoach
Reed

 

Local 55 negotiations and
tentative agreements

 

10 minutes

 

10 minutes

 

 

 

DEFENDANT’S TRIAL WITNESS LIST (Case No. 3:14-cv-02022 NC)

 

 

LAFAYETTE & KUMAGAI LLP

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Plaintlffs alleged protected 5 minutes
acts; plaintiff s job
performance; union

negotiations

 

19 Courtney Ruby

Violations by Desley 10 minutes 10 minutes
Brooks relating to Rainbow
Teen Center

 

20 Arturo Sanchez

Plaintiffs termination 5 minutes 5 minutes

 

21 Deanna Santana

Legitimate business reasons 1 hour %. hour
for termination; plaintiff s
alleged protected acts;
dissemination of
confidential information;
causation

 

22 Amber Todd

Plaintiffs alleged protected 5 minutes 5 minutes
acts; plaintiff s job
performance

 

23 Kip Walsh

 

 

 

Drafting and signing of 10 minutes 5 minutes
Rainbow Teen Center
Report

 

 

 

 

DATED: August 12, 2015

Respectfnlly Subrnitted,
LAFAYETTE & KUMAGAI LLP

/s/ Garv T. Lafavette

GARY T. LAFAYETTE
Attomeys for Defendants
CITY OF OAKLAND and DEANNA SANTANA

 

 

 

DEFEN])ANT’S TRIAL WITNESS LIST (Case No. 3:14-cv-02022 NC)

 

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ATTACHMENT C

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CaseS:l4-cV-02022-NC DocumenthZ FiledOB/OE/l§ Page27 0170

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SIEGEL &YEE '

499 14th Street, Suite 300
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Telephone: {510) 839-1200
Facsimile: (510) 444-6698

Attorneys for Plaint:iff
DARYELLE IAWANNA PRESTON

_ UNHFE:D s_TaTES DIsI‘RrCT CoURT

NORTI-IERN DISTRICT .OF CAI,IFORNlA '

DARYELLE LAWANNA PRESTON, ) Case No. 3:14~CV-02o22 NC
Plaintiff, § PIAINTIFF’S \ATITNESS IJST
vs. § Pret;rial Conference: August 19, 2015
} Time:
CI'I'Y OF OAKLAND; DEANNA } Judge: Hon. Nathanael Cousins
SANTANA, in her individual capacity; and -
DOES 1 through io, inclusive, Trial Date: September 14, 2015
y )
Defendants. g
1

 

 

 

The following is plaintiffs witness list:

 

 

NO WITNESS TESTIMONY TIME
1. Winnie Anderson Local 55 tentative Direct: 20 mjns.
agreements, and SEIU Cross: _
grievance

 

 

 

 

 

 

 

Presron v. Cin oanldand, er al., No- 3:14-CV-02022 NC
Plaintjff’s V\thess List - 1

 

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2. Fred Blackweil Rainbow Teen Center, Direct: 20 mjns.
discussion at City Council, Cross:
union relationship with
Santana and Preston.

3. Desley Brooks Rainbow Teen Center, SEIU Direct: 45 mins.
grievance, City Council Cross:
meetings.

4. Barry Donela.n Preston’s work with police Direct: 15 mins_
union n n Cros.s: `~

5. TC Everett Oaldand policy on access to 4 Direct: 15 mins.
employee emails, computer Cross:
reliability

6. Larnont Ewell Preston’s pertor:rnance, Direct: 20 mins.

n emotional distress, Santana’s Cross:
performance 1

7. Chucl< Garcia Preston"s work with Direct: 15 mins.
Firetighters Union. Cross:

8. Yvonne Hudson Disparaging phone call to Direct: 10 mjns.
Pre.ston’s current employer- Cross:

9. Katano Kasaine - -~ SEIU grievance, aftermath of Direct: 30 mins.
termination v Cross:

10 Joe Keffer SEIU grievance Direct: 15 mins. l

Cr'oss:

11 Sonia Lara Preston’s job performancey Direct: 15 mins.
SEIU grievance Cross:

12 Dwight McElroy SEIU grievance Direct: 15 mins.

Cross:

 

 

Preston u. Cin oankiand, et al., No. 3 :14»€17~02022 NC

Plajnt:iffs Witness List - 2

 

 

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1 13 Otis McGee Reasons for Preston’s Direct: 30 mins.

2 termination, investigation of t Cross:

3 Preston, Preston telephone

‘4 call to Santana,

5 14 limin Morrison Pre_ston’s current employer, Direct: 10 mins.

6 receipt of disparaging phone Cross:

7 call from City Attorney

8 employee .

9 pl 15 Ba_rbara Parker Reasons for Preston’s Direct: 30nn`ns.
10 termination, SEIU grievance, Cross;

11 Local 55 tentative agreement
12 Rainbow Teen Center.

13 16 Lawanna Preston Plaintiff_ Direct: 1 hour
14 Cross:

15 17 Jean Quan Reasons for Preston’s Direct:: 15 mjns-
15 termination Cross:

17 18 Teresa Reed Local 55 tentative agreement Direct: 20 mins.
18 Cross:
19 19 Da_n Robertson Preston’s work with Direct: 15 mins-
20 Firefighters Union. Cross:
21 26 Deanna Santana Retaliation against Preston. Direct; 1 hour.
22 Cross:
23 21 Latonda Si.mrnons City Council meetings, Direct: 20 mins.
24 l Rai_nbow Teen Center. Cross:
25 22 Sandre Swanson Reasons for Preston’s Direct: 20 mins.
26 termination, Preston’s Cross:
27 performance
28

Preston U. City oankland, et 611., -No, 3:14“€\7~02022 NC
Plaintiff s W'itness list ~ 3

 

 

 

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23 Cheryi Thompson , Emotional distress Direct: 20 mjns.
Cross:
Dated: Jnne 30, 2015
SIEGEL 81 YEE

By: /s/ Sonva Z. Mehta
Sonya Z, Mehta _

Attorneys for Plaintiff
Daryelle LaWanna Preston

 

Presron u. Cin ofOnktand, er at., No. 3:14-CV-02022 NC
Plaintiffs `Witness List - 4

 

Case 3:14-cV-02022-NC Document 106 Filed 08/11/15 Page 15 of 122

ATTACHMENT D

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Az‘rorneysjbr Dejéndnnrs
CITY OF OAKLAND and DEANNA SANTANA
Ulill'_ED STATES DISTRICT COUR'l`
FOR THE NORTHERN DlSTRlCT OF CALIFORNIA
SAN FRANCIS CO DlVlSlON

DARYELLE LAWANNA PRESTON, Case No. 3:14-cv~2022 NC

Plaintiif, . ` Complaint Filed: 3/7/2014

v_ DEFENDANI’S TRlAL EXPERT
WITNESS LIST

CITY OF OAKLAND; DEANNA '
SANTANA, in her individual capacity; and
DOES 1 through 10, inclusive,

Final Pretrial Conference Date:

August 19, 2015

Time: 11:00 am.

Defendants. Courl`.room: D (San Francisco)
Magistrate fudge: Nathanael M. Cousins

 

 

Defendants City of Oakland (the “City”) and Deanna Santana (“Santana”) in accordance
With the Court’s Pretrial Preparation Order dated .1 uly 20, 2015 , submit the following Expert

‘Nitness List in connection with the above captioned matter.

1. Mark Cohen
Cohen/Volk
1155 Alpine Road
Walnut Creek, CA 94596
Tel: (925) 299-1200

Attached as Exhibit A is a copy of the report and curriculum vitae.

 

 

 

DEFEN]}ANT’S TRIAL EXPERT WI]`NESS LlST (Case No. 3:14-cv-2022 NC)

 

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Mr. Cohen will testify about plaintiff s alleged economic loss and mitigation He will
testify that plaintiffs alleged economic past loss does not exceed 848,906 and her future

economic loss will not exceed 8105,553.00, for a total economic loss not to exceed 8154,459.00,

Respectfillly Sub1nitted,

DATED: August 5, 2015 LAFAYETTE & KUMAGAI LLP

/s/ A]$'ica E. Dm’fdson

AFRICA E. DAVIDSON
Attorneys for Defendants
CITY 011 OAKLAND and DEANNA SANTANA

 

 

 

DEFENDANT’S TRIAL EXPERT WI'I`NESS LT.ST (Case No, 3:14-cv~2022 NC}

 

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Aprrl 1 2015

Ms. Merla Bee

Ottlce ot the City Attorney

One Franl< H_ OQawa F’§sza, 6"1 Fl.
Oal<.i.ar'td. CA 94512

Re: Preston v. Citv of Oaktand

Dear t\r'ts. Bee;

As Chlef Econornist of`Cohen l Vo§tr Eoonomic Consult§ng Group, 1 have been retained to evaluate
the economic tosses to Ms_ Preston in the above~capt|oned case. This evaiuat§on includes an
evaiuatton of Ms. F’reston's lost earnings attempts to mitigate her loss, her employability and her
mitigation earning capacity 1 have also been retained to oomment upon Work product and testimony
of p!a§ntitf retained economic loss and mitigation experts

ln order to comptete the assignment 1 have renewed the fo-i§ow§ng documents

P§aintjtf’s Response to Clty ct Oalr|and's Speclal lnterrogatorles, 3e1 1;

Pialnt'rl‘f’s payrott records 2008 to 2013 at the C-ity of Oakland;

Ptaintttt”s 2012 W"Q -Ststement;

i'_‘)efendant Responses to lVls. Prsston*s Supplemental interrogatories 3e1 1;

M%sce§isneous personnel records for hist Preston at the Ctty cf Oatdand;

his Preston‘s rough deposition transcript

Ctty of Oalr|and"s MOU with the Cont§dent§at Mansgernent Employees Assoclation, 771/13-7£1/15.

.`\1@51":[*“§-°§‘3.“"

in terming my opinions t have also relied upon data provided by the City and C.ounty ot Ssn
Franoisco, the City ot Berkeley, the Ca§ifornla F’ub§ic Emp§oyees Rettrement Benefit System and the
C:'ty of Oaldand on their web sites Addltions§£y, there spoken with Katano K_asa?ne, Treasurer, Clty
of Oal-dsnd.

Evaluatlon of |ncome and Benetlts without Termtnation from the Citv of Oaklsnd:

|*vls. Preston was hired July 23, 2007 as a Human Resources lv.la'nageri She Was terminated
Oc'tober 3, 201-3, Since hertermina£lom the City of Oakland has had a 1’% cost ct irving adjustment
in duly 012014. l have calculated Ms. Preston’s earnings and benefits Wlthout termination based on
her average annua§ incomel adjusted to current pay rates from October 2013 to the date of
valuation_\

Futurs income and benefits without termination are cafcu§ated using the rate of pay at the date cf
valuationl and discounting this income stream to present cash vaiue using a net discount rate The
net discount rate is the difference between interest rates and wage growth rates historical!y in the
U.S. "i"he income and benefits are calculated to the end of a normal Wor¥dife expectancy based on

SOUYHERN Cr\_tlFDRNiA OFFlCE.‘ 5?43 SMVFHWAY STRE£Y, SU?'FF_ 1015 1 105 P\NGE£.ES CA 9004\‘,'5- 1' 323. 72218047

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Case3:14»cv~02022~NC Document103 Filed08/05/15 PageS cf 26

Niarla Bee
Apri| 1, 20i5
Page 2

the experience rates of the Caliiornia Pubiic Employees Retirement System the system that tvls
Preston was a part of when employed for the City of Oaltiand.

Pension benefits are calculated in accordance with the City cf Oaidand agreement with the
Ca|ifornia P'ubiic Employees Retirernent System. These benefits are calculated to the end of a
normai life expectancy `|'hese benefits are aiso reduced to present cash value

Evaluation of indication Earnlno Caoacity:

Aocording to records received, l\fls. Prestcn started with the.City and County of San F'rancisco in
2014, She began at a rate of $i 19,000 per year, and in January of 2015, her salary Was raised to
$138,000 according to answers to interrogatories

The attached anaiysis asserts that in the future Ms. Preston will increase through the ranks of the
pay scale such that after 5 years employment with the City and County of San Franciscc, she wiii be
earning the equivalent of the pay rate that she would have had had she remained employed with the
Clty of Oakland. ivis4 Preston required fees than 5 years of empioyment to reach her test position at
the City of Oai<land. Once obtaining that position, her earning increases were equivalent to the
increases in the generai cost of iiving.

Future mitigation income and benefits are caicuiated using the rate of pay at the date of valuation§
and discounting this income stream to present cash value using a net discount rate `|'he net
discount rate is the difference between interest rates and wage growth rates historically in the U.S.
l\flitigation income is calcuiated to the same date as earnings and benefits Wiihout termination

Pension benefits are caicuiated in accordance with the City chai<iand agreement with the
Cal§fomia Pubiic Employees Retirement System and based on the service that she eamed to the
date of termination These benefits are calculated to the end of a normal life expectancyl Pension
benefits at the City and County of San Francisco are calculated in accordance With the San
Franoisco Ernpioyees Fteti'rement S'ystern. `|'hese benefits are calculated to the end of a normal life
expectancy `|'hese benents are also reduced to present cash vaiue.

Conciusion

Piease note that this report is preliminary As additional information becomes availabie, | may
augmentor change my opinions Additionally} please note that at this juncture, i have not received
any economic loss analysis prepared on behalf ct lvis. Preston, As such, i cannot comment upon
such analysis at this point in time.

l have attached my CVJ rate sheet and a list of testimonies in the past four years,
|f you have any questions please do not hesitate to call rne_

Sln cereiy,

f%?~£/¢’"»KMM

Nlarl< Cohen
Chief Economist

Attachments

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PREL!M¥NARY ECONOMEC LOSS REF'ORT

F’reston v. Citv 0 Oakiand

Aprif ‘i, 2015

SC*U'$'H"\;'RN CAL|FORNLACLFF!CE: 57¢3 $MlTHWA'Y STREEY, SUITE 105 ` LGS ANGEI,&S C.i\ 90040 ' T 323. 2'1’.2»80£;7

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Tab¥e 1

Sur'nmary of Econom§c` Loss

i. Past Per§c)d;

Earn%ngs and Benefits withO-ui Tez“m§natéon, T&bie 4: $ 303:303
\ |\/'lit§gai§<)n Earning Capacity, Tab§e 5: ' $ (199,777)

Mzuga'u@n PERS Pensjon Benefits, name @: ' $ §54,@20;

Past Ecorrom§c Loss: $ 48,906

¥E. Fuiure Pericd:

Eamings and Bener'its without Ter”m§natic)n, Tabie 6: $ 641,672
Pensfon Benef§ts without Terrm'm€:zt`ions Tab£e 7: 35 320,035
Mitigation Earning Capacity, Tab!é B: $ 1595,54?)
Mi%_igatjon PERS Fen$ion Benefits, Tab§e 10: $ {500,525)
M%t%ga'§%on SFERS Pens%on Benef:is, Tab!e 92 $ (260,‘133)
Futur;e E.conomic Loss: $ 105,553

E§§, Pas§¥ and Fufure Pen'cds:

Totai Econ-omic Loss: $ 154,4§§

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Tab¥e 2

 

Actuar§ai Dafa
Dan of Bir’rh:
Dafe of Termination;
Date of Va!u§tipn:

Age yet Date\ of Loss:

Time Elapsed Between Date of Loss and \fa¥uafion:

1 ,F\Qe at Dete of Va!ua‘tion:
Workiife Expectancy at Date Of \/aiuation {1):

Life Expectancy at Date Of Val.uation (2):

 

8/1!58

10!3/13

91’1 5115

55.17 years
195 years
5?.“£2 years
431 year$

26.90 years

1 » Baeed on Ca§PERS 2015 Ar:tuaria} Report for active femaie members

2 ~ Based on a?¥ fema§es- L&fe Tab%es; Vifa§ Sta_tist€cs of the Un§ted States.

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Tabie 3

 

Average Annua¥ Eamings

Actuai Adjuated
Year Earnings (1 § _Ad§u.§tment §2) Eamin§s
2009 $ 151,768 111516 $ 1?4,?83
2010 $ 446§1-13 1.10“|7 35 160,97'7
2011 33 151,308 '1.0675 3161,5'§7
2012 $ 166,750 '1,0392 $ 173,291
’IG/Sf2013 $ 126,467 ‘|‘0123 $ 128,027
Average ,C\nnua{ Earn€ngs 2009 - 101’3!13 {2013 do?iars): $ 168,022

 

1 » H§sioricaf annua¥ earnings per City of Oai<iand payrc)%l.

2 » Adjustments to 2013 dci|ars be$ed on actuat Changes in wages‘, per City cf
Oakland payroll

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Table 4

Pasi Earnings and Benefits without Term§nation

F\nnual
` Daies ‘_ Per§od Eernings §’l} Period LOSS
1013!13 -’ 61’30!?4 U._f'¢l» 3 163,022 § 124,337 `
l
7/1,1'14 ~ emil/15 1.21 $ 1695/03 $ 205,340 l
Past Eeminge end Benefite Wltheut Termlnetlon: §§ 329,,6?7
Frlnge Benefits (2}: 7 - $ §.'26,374)
F’as:t Earn¥n§s and Benefits without Terrnina=flon: $ 30§“,_3_0§

 

1 ~ See Tel;)le 3, “Aver‘age Am'luel Eam§ngs." Effeclive¢ 7!1!“|&, 1.0% increase1
per “Agreement Between C%ty Of Oal<land end Conf§dentiel Manegemen“c
Employees Assecietlon Uni‘c U3‘l, duly 1, 2013 to June 30, 201`5?'

2 » Frlnge benefits based en employee contribution to PERS retirement equal
to 340% of e_arrz_inge,\ lnformetion per Ci‘cy' Ol Oakland, Ret§rement B€~nefit
lnl`erm etlon. '

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F"est M§ttgation Eaming Cepacify t

Annuel Period
Detee Period Eernin§e §‘[‘; Eernings
'l/Z‘lf‘l¢i » 12/3‘[/'14 094 3 119,000 $ 111,860
T/ift§ ~ 9/14/15 0.70 $ 138,00{} $ 96,600
Peet l\/iitigei;ion Eernlnge; $ 208,460
Piue i\!iitigetlon Fringe Benefits {2): $ i31683)
Past M¥tigation Eerning Cepac§ty: $ ‘1§9,?'7?’

 

1 ~ Eernings in 2014 end 2015 per MS. Prestori‘s Supp§ernentel Reeponse to
interrogatory No, li1

2 ~ i:rtnge benefits include employer contribution to Sociei Seourity and
employee contribution to SFERS retirement Ernpioyer contribution to Sociei
Seourity equal to 6.2% of eernings, up to the maximum allowed, per Sociei
Security Aclminietret§on. Ernpl-oyee contribution to SFERS retirement equei to
7.5% Of eerninge, increasing to 11‘5% of earnings effective ?/i/‘l¢l.
intormetion per SFERS Webeite.

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Te_bie 6_

Pest PERS Mitiga;tion P_eineion Bene_fits

Annuel Period

Detee Period Beeefite 31 ) Eerninge
10i3!13 » 4!30}15 1‘5? $ 2_8,068 $ 44,06?
5!11`15 - 9114f15 0.37 § 28,523 3 10"§_5_§§
Pest PERS liiiitigation ‘Pen_eion Benet“rt.s: gm 5§1,62_0

 

1 ~ PERS mitigation pension benefits equal to $2}339 per month, per PERS
on~iine ceici.iietorY GOLA, which begins the eecend felt year ot retirements is
equei to 1.62%, effective 5/1!15, per “Tne COLA Fect Sheet."

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Case3:14-cv-02022-NC Docurnent103 Filed08/05115 Page13 ot 26

Tabie 7

Futur'e- Earnings end Bene‘fits Without Te intimation

Annuei Preeent C-asb
Detee Perioci Eerninge §11 Velue (2§
9!15!15 - 115!20 4,31 3 169,7'03 $ 69?,4?0
Future Eerninge end Beneiite Witnout Terrninetion: 3 69?,470
Fringe `EBene-fite (3}: $ §55,?98}
Futore Earninge and Benefits without Terminatton: §w_“ BW¢LL§:§

 

1 m See Teble 4, "Pest Eerninge end ES-enef§ts Witnout Terminetion.“
2 ~ 2.25% net discount rate

3 ~( See Teble 4, "Peet Eerninge end Beneiits Without T-errninetion."

- 1 Case¢e:~l¢i-Qv-ozozz_-NC Document 106 Fileci_ 08/11/15 Page ze;_gi_ 122

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Teble 8

_Future Peneion Benefits without Term§netion

Annuel Preeent Ceeh

Detee ieriod Beneiitsg’ii \/aiue§f£i __
enene ~ tie/20 431 $ ~ 3 w

1!6!20 w 8110!-42 22_59 $ 57,468 $ 820,085

Futore Per'i$ion Beneiits without Terminatien: $ wftz@,e$§

 

1 » Peneion benefits equal to $4,789 per month, per CeiPERS on»line
oeicutetori

2 » 2.25% net discount rate through 1/5/20, 3.5% net discount rate thereafters

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Ta_bie 9

Future ililit§getion Eaming Cepacity

Annuel Present Cesh
____._..MP£§Q§___M_W £ei£€i_ £§LLQQS_€E)._ _._V_Eiu§_l§)_
9!15!15 s 1120/16 1135 $ 136,000 35 46,114
1121!16 ~ 1/20!17 1,00 $ 145,926 $ 143,201
1/21!17 ~ 1/20/16 1.00 $ 153,851 3 147,656
ii.'¢`itiiB » 1/20:'19 1100 $ 161,7?7 $ 151,646
1i21i19 » 1/5/20 0,95 3 169.703 $ 140,073
Future l\,’l`:tigetion Eernings: 3 638,890
Pius lt/iitigatlon Fringe Eienefite (3): $ (43;343}
Future ll.itit§getion Eerning Ce=pacity: $ 596,5§1

 

1 ~ See Tebie 5, "F’eet Mitigetion 'Earning Cepecity.“ Earnings increase
annuale through 1/21/19, five years of mitigation em ployment, to reach
$169,703 per yeah

2 ~ 2.25% net discount rete.

3 - See Tebie 5, "Peet Mitiget§on Earn§ng Capac§ty."

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Tabie 10

Fu!ture PERS Mitigatton Peneton Benefite

Annuel Preeent Cesh

D_etes“ Perioo Eerninge §1) \/eiue (21
9!15/15 - Bi10i42 26.90 $ 26,623 6 600,525
Future PERS initigetion Pension Eienefitst §m 500,52§

 

1 ~ See `i`ebie 6, "Pesi PERS relitigation Pension Benefitsf°

2 ~ 3.6% net discount rete,

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Tabie 11

Future SFER_S Nlitig effort Pe'nsion Benefite

Annuei Present Cesh

Detee Period Benefits §1 § \/eiue §21

9/15!16 » 114/20 4.30- 6 ~ $ ~
115/20 » one/42 22,60 3 18,220 is 260,133_
y Future BFERS Mitigation Pension Ben-efits: §T; pg§§,j't?»§

 

1 n SFERS mitigation pension eooei to $1,616 per month, per SFERS formula

2 -- 2\26% net discount rate through 1/6.’20, 3.5% net discount rate ihereei‘ier.

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MARK COHEN
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business personal iniury. Wrongtui oeath, labor and marital litigation Preparetlon ot
Statisti-ce§ analyses, vocationai, tabor and §ob market consultation end studies
Deveioprnent and placement of structured settlement alternatives

BAY AREA PS`rCHGTHERAPY`TRA!NiNG iNSTlTUTE, i_atayette, CA. 1994 to 2001l
Mernber, Boaro` of Directors. Consultation in the business development and
management of this non`profit training institute

Ti~iE UDINSKY GROUP, Bertceley, CA, 1964 to 1995.
\Jice ll‘resitientx \Jaluation of businesses and economic losses in business personal
§njury, wrongful death, labor and marital litigation Preparation of statisticei analyses
tabor and job market consultation and studies D'eveiopment and placement of
structured settlement aiternatives,

[ESQH[NG E)(F’EF€!ENCE

DOM|NiCAN UNiVERSiTY, San Rafael, CA, 1992 to 1998.
Adjunct Professor of Graduate |_evel international Finanoe. Nlonetary Systerns end
in\.lestrnentsq M.BA. Prograrn; Unoergraduete Level international Finance and
investments Business School Pr'ogrern.

EUROPEAN BUSINESS SCHOOL§ Brusseis, Beigium, 1991
Acijunct Professor of Unoergraduate stel ivioney and Banking, Statistics. and
Management.

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LiNlVERSlTY OF CALIFORNJA AT BERKELEYr Bac:helors ot Science, Business
Adrn§nistration, 1962 Emphasis in F§nanee.

BOSTON UNlVERSlTY. l`vlastere ofSclence, l\i‘lanegement, 1991 Empbasls in
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"lnoome and Net Worth Anaiye§e for Punitive Darnegee Teetirnony," presenl.`eol
";o ina Amerlcan Renabiiiia%§on Eoo-nernies Associaiion Reno, Nevada, June 2014.

“Eoonomie issues For Voeationai Experts To Consider§ in Vooetl lonal A`nalyeis,' `
presented to the Ceiiiornia Associetion of Renao iitaiion and Re- -Employrnent
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Arnerioen Renab§iltation Eoon'ornios Assoolations {AREA}, Reno, Nley 1993.

“ivletl’rodoiog§es to improve Eoonorn§r‘, end Voceiionei Analye§e in Personai injury i_i‘tige'£lon,"
with Tnomas "{ani<o\l'~rsl<i5 MTS., C!V,E… litigation Eoonomics D‘ges’cj Nationei Aseoeieiion of
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Vocationei `Eveiue’cion end Wor$< Adlusirrreni Journei, Tne Profeseionel Journei of `i`he
\foceilo na§ Evalual;§on end Wori< Aci}usfmen‘t Assooiatien. Veiume 31., No,

%, Feil/Winter 1996.

 

"Voca‘rlonai-Evaiuaiion and Eeonomio Anaiysis in Personei injury and Wrongful Termination
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Rehebiilta’rion Proieesiona§ in the F'r§vate Seo‘tor; San Franoiseo, Aprii

1995

“Tne Economics of Ernp§oy'meni Uisonerge end You'r Ceee,“`with Jeraicl l-i, Udinsi<y, Pn,D.,
A,S.A., The Lav_dger’s Brief, Bueiness l_aws, inc., Onlo. Voiume 20, issue No. 5, March ‘i§F
1996

“Estirnetien of Fuiere i./ledic:ai end Reheb§iitei§on Care Cosl;s: issues end Questions for Tne
Attention of Renabiiiiaiien Prof-essionais,"’ presented to the Registereo` Nurses Profess'ronale
Associatiorr, Santa Clera Va§iey Medicel Center, January 1990.

 

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MARK COHEN

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Aboeirenim v. Gueroemen\'
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2011 F'atino v, CHW Deoos’rtion testimony
2011 Khsn v. Ks.iser Arbitratton testimony.
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2011 Savsge vt Stste of Co§ifomis Deposition testimony
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2011 Ai_)dei| A|i v. Stanton:i inst testimony

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2012 Savemsrt v. Vai-iey Pai!et, et at Dsposition testimony,
2012 Booker v. Ctty of Riohmond Trial testimony

2012 7 Dewn LLC v, Groondwei§ Constrootion Deposition testimony
2012 Degnino v. Norstech Deposition- testimony
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2012 Benson v. Newton Trisi testimony

2012 K§ng v. SAi\/i‘ ino. Deposition testimony
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2013 A:'i<sy v. Akst Devetopment Co, De position testimony
2013 EK Pneume v. Great China Triei testimony

2013 Towfigh§ v. Assooiated Constructors Deposttion testimony
2013 Art<ey v, Ai<e% Deveioom ent Co_ Tnoi testimony

2013 Sevemsrt v. Ve|iey Patiet, et e!. Tr§e| testimony

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2013 Ein'iich v_ Z|ot, et ai_ Deposition testimony
2013 Cebrers vk Teyior Fresn Fooos Deposition testimony
2013 Cebrere v. Teyior Fresh Fooos Triet testimony

2013 Dereschuk v. Deresonui< Deposition testimony
2013 Deres-cnui< vt Deresonuk To‘ei testimony

2013 Singn v. Mer|o, et et Deposition testimony
2013 Kremer v. Dr. Pepper-Sneppie Tr'iet testimony

2013 Ehnion v. Ziot et ei. Tn’a§ testimony

2013 Nietitis v. J‘S. Trucking, et siA Deoosition testimony
2013 Aoame v. Aioos Deoosition testimony
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2013 Smitti v. Soienki Deposition testimony
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2013 Singh v, i\.iiei'ioj et al. Ttieii testimony

2013 Ceideron v. Sheii Deposit§on testimony
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2013 Wigmore v. Keiser Arbiti'ei']on testimony
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2013 Phoenioien HOA v. Pnoenioisn LLC Deposition testimony
2014 Hugger v. Hu§ger Arbitretion testimony
2014 Duncen v. i'-\iriine Coech Service, inc. Deposition testimony
2014 Estate of Fitzgefeid v. CA Stete Atito Assn. Deposition testimony

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ATTACHMENT E

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DAN SIEGEL, SBN 56400
SONYA Z. MEHTA, SBN 294411
SIEGEL & YEE

499 14th Street, Suite 300
Oakland, California 94612
Telephone: (510) 839-1200
Facsimile: (510) 444-6698

Attorneys for Plaintiff
DARYELLE LAWANNA PRESTON

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

DARYELLE LAWANNA PREsToN, g
Pidiiiiiii, §

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VS. )
)

CITY or oAKLAND; DEANNA )
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DOES 1 through 10, inclusive, )
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Defendants.

 

 

 

Case No. 3:14~CV-o2o22 NC

PLAINTIFF’S EXPERT WITNESS
LIST

Pretrial Conference: August 19, 2015
Time: 2:00 P.M.
Judge: Hon. Nathanael Cousins

Trial Date: September 14, 2015

The following is plaintiffs expert witness list and summary. The report and

curriculum Vitae are attached as Exhihit A.

1. Margo Ogus, damages expert.

2. Summary: Ms. Ogus Will testify as to her analysis of plaintiff Ms. Preston’s

economic damages as a result of defendants the City and Santana’s termination

of her. Ms. Preston’s total economic loss is $839,575, assuming she Will retire at

65. This includes:

 

Preston 1). City oankIand, et al., No. 3:14-CV-02022 NC

Plaintiff’s Expert Witness List - 1

 

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a. Past earnings loss: $92, 050
h. Future economic loss at present value: $252,886

c. Pension loss in present Value: $494,640
Dated: August 5, 2015

SIEGEL 81 YEE

By: /s/ Sonva Z. Mehta
Sonya Z. Mehta

Attorneys for Plaintiff
Daryelle LaWanna Preston

 

Preston U. City of Oakland, et al., No. 3:14-CV-02022 NC
Plaintiff’s EXpert Witness List - 2

 

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EXHIBIT A

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EXPERT WITNESS REPORT

Re: Daryelle Lawanna Prestc)n v. Cily oankland, et al.

United States District Court
Northern District of California
CaS€ NO. 3:14»0\1-2022 NC

April 1, 2015

COMPLETED BY:
Dr. Margo Rich Ogus, Ph.D
CONTENTS:
Expert Witness Report (2 Pages)
Economic Loss Report (3 Pages)

Curriculum Vitae (l Page)
Testimony Experience (4 Pages)

ECONOMIC SOLUT|ONS, INC.
1000 Elwel| Court, Suite 214 - Pan Alto, CA 94303 - (650) 330-0345 - Ww.economicso|utions.org

 

 

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April 1,2015

 

Sonya Mehta

Siegel & Yee

499 14“‘ street suite 220
Oakland, CA 94612

Re: Danyeile L. Preston v. City of Oakland
Dear Ms. Mehta:

Please find enclosed my report on Darryelie L. Preston’s economic losses as a result ofthe termination of her
employment from the City of Oakland. l have enclosed1 as well7 a copy ofmy current curriculum vitae and a list of
cases in which 1 have provided deposition and trial testimony in the last four years.

ln undertaking my analysis, l reviewed the following documents1 which have been provided by your oftice:

¢ City of Oakland Personnel Action Reeord (OAK00000896)

l City Oankland Salary document (OAK00000912)

¢ City oankiand letter dated October 3, 2013 (OAKOOOOOSQ§)

~ L‘City oankland Retirement Benefit information Non-Sworn!Miscel|aneous Employees”

0 “SFERS Miscellaneous Plan m A8.603 Summary of Key Plan Provisions 4 as ofJanuary 2012”
¢ W2 earnings statements from City oankland for 2012 and 2013

- CALPERS 1099 for 2014

l W2 earnings statement from City and County of San Francisco for 2014

¢ _CCSF paystubs for pay periods ending December 19, 2014 and February 13, 2015

¢ Verified Complaint for Darnages and injunctive Re[ief

1 also reviewed life expectancy data which 1 maintain in my ofi`ice.

Ms. Preston’s total economic loss is $839,575. This includes a past earnings loss of592,050, future economic loss,
in present value1 of 5252,886 and pension ioss of 3494,640 in present value. Comments and assumptions utilized in
the analysis are listed on page three.

Ms. Preston was promoted to the position of Empioyee Re|ations Director for the City oankland on .lanuary 7,
2012. Her base salary was $157,358 per year at the time of her termination l assumed that she would have received
wage rate increases equal to three percent per year in January of2014 and 2015.

ln addition to her wages, Ms. Preston participated in the City oankland’s CALPERS retirement plan, which is
calculated separately. As an employee, she was obliged to contribute eight percent of her wages to the pian, which
is shown in the Fringe Benefits column under “Earnings without Termination" on the first page of my report. No
consideration has been taken ofthe health insurance coverage that she received in conjunction with her empioyment
with the City oankland as they were replaced by like plans when she became employed at the City and County of
San Francisco (CCSF).

Following the termination of her employment, Ms. Preston found new empioyment starting on January 20, 2014
with CCSF` Her wages in 2014 are reflected on her W2 earnings statement Her current rate of pay is $137,644 per
year. ln addition to her wages, she participates in the SFERS retirement plan and is obliged to contribute 1 115

ECONOM|C SOLUT{ONS, lNC.
1000 ElWell Court, Suite 214 ¢ Palo A|to, O-‘\ 94303 ° (6501330~0345 ' www.economicsoiutions.org

 

 

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percent of her wages to the plan, which is also shown in the Fringe Benet`it column under “Earnings with
Termination”. You have asked me to assume that she wili retire at age 65.

ln addition to Ms. Preston’s loss ofearnings, she will sustain a loss of pension benefits. Had she not been
terminated from the City of Oal-cland, she expected to retire at age 65 and would have received an annual pension of
$84,321 under 1116 terms OFOakland’S CALPERS 2.7% @ 55 plan. As a result ofthe termination ofher
employment and her new employment with CCSF, she will receive a pension from SFERS, following retirement at
age 65, of $34,982 per year. it is my understanding that she has received a payout of her prior CALPERS
contributions and is not eligible for a CALPERS pension.

My opinions are also subject to revision, based on additionai information to be obtained in discovery and/or from
subsequent court proceedings My compensation for this work is charged at a rate of $425 per hour for everything
except deposition and trial testimony, which is charged at a rate of$600 per hourv

Sincereiy,

Margo Rich Ogus, Ph.D
Presidcnt

MRO/ji
Enciosures

 

 

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1-Apr-15

DARRYELLE L. PRESTON - ECONOMIC LOSS

 

 

 

 

 

 

 

Date of Birth: 01-Aug-58

Date of Hire: l7-Jul-07

Date ol` Termination: 03-Oct-13

Oak|and CCSF
Pension w/o Present Pension with Present
Year Mo Termination Value Termination Value
2015 $0 $0 $0 $0
2016 0 0 0 0
2017 0 0 0 0
2018 0 0 0 0
2019 0 0 0 0
2020 0 0 0 0
2021 0 0 0 0
2022 0 0 0 0
2023 28, 128 20,022 1 1,560 8,229
2024 84,384 57,757 34,681 23,738
2025 86,071 56,646 35,375 23,281
2026 87,793 55,557 36,082 22,333
2027 89,548 54,488 36,804 22,394
2028 91,339 53,440 37,540 21 ,964
2029 93,166 52,413 38,291 21,541
2030 95,030 5 1,405 39,056 21,127
2031 96,930 50,416 39,83 8 20,721
2032 98,869 49,447 40,634 20,322
2033 100,846 48,496 41 ,447 19,931
2034 102,863 47,563 42,2 76 19,548
2035 104,920 46,648 43,121 19, 172
2036 107,0 l 9 45,751 43,984 18,803
2037 109, l 59 44,872 44,864 18,442
2033 1 t 1,342 44,009 45,761 18,087
2039 113,569 43,162 46,676 17,739
2040 5 47,320 17,693 19,448 7,272
Pension without Termination (PV): S839,784
Pension with Termination {PV): 345,145

Pension Loss (PV): 3494,640

 

 

 

 

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Comments and Assumptions
Earnings without Termination

1. Wage rate equal to $157,358 per year, from City of Oakland Personnel Action Reeord, dated
January 7, 2012

2. Three percent per year wage rate increases in January 2014 and 2015

3. Fringe benefits considered limited to offset of employee contributions to CALPERS, equal to
eight percent of wages, from “City of Oakiand Retirement Benefit lnformation Non~
Sworn/Miscellaneous Emp|oyees”

Earnings with Terminatlon

Wages in 2013 from W2 earnings statement from City oankland

Fringe benefits in 2013 as described in comment three, listed above

New employment at City and County ofSan Francisco (CCSF) on January 20, 2014

Wages in 2014 from W2 earnings statement from CCSF

Wages in 2015 and beyond based on wage rate equal to $137,644 per year, from pay statement for
pay period ending February 13, 2015

9. Fringe benefits considered limited to offset of employee contributions to SFERS1 equal to -11.5
percent of wages, from “SFERS Miscellaneous Plan - A8.603 Summary of Key Plan Provisions -
as of.lanuary 2012”

?°.`“JF'\§J'.“='

General

10.7 All future figures shown in current dollars

1 1. Retirement at age 65

12. Net discount rate of 1.0 percent, used to compute the present value of future eamings, is equal to

the average historic difference between the interest rate on three-year U.S. Treasury bonds and the
average increase in U.S. worker compensation

Loss of Pension

13. Pension loss is equal to the difference between Ms. Preston’s expected pension following
retirement from the City of Oakland and her expected pension following her retirement from the
CCSF

14. Commencement of pension on September l, 2023, following retirement

15. Pension from City of Oakland employment equal to $84,821 per year, based on the CAI_,PERS
2.7% at 55 plan

16. Pension from CCSF equal to $34,982 per year, based on SFERS plan

17. Duration of pension loss equal to 25.2 years from now, Ms. Preston's statistical life expectancy,

from “National Vital Statistics Reports", United States I_,ife Tab|es, Vol. 621 No. 7, January 6,
2014, Division of Vita| Statistics, published by the U.S. Department of Health and |-[uman
Services

18. Pensions increase at two percent per year from 2025

19. Discount rate of four pereent, used to compute the present value of future pension payments

 

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NIARGo RicH OGus

CuRRENT PoslTloN

' President, Economic Solutions, lnc.l Consultant and expert witness for both plaintiff and
defense counsel in areas of economic loss in civil litigation

PREV!OUS POSlTlDNS

' Vice President, Spectrum Economl'cs, inc., Mount`ain View, California; consultant and
expert witness in economic loss valuation in civil litigation

- Vice President and Principai, QED Research, lnc., Palo Alto, Califcrnia; consultant and
expert witness in economic loss valuation in civil litigation.

' Head of Commodity Ana|ysis, Economics“Policv Research Department, Bank of America,
San Francisco; economic and policy research related to price forecasting and market
analysis of industrial and agricultural commodities

' Research Assistant, Food Research |nstitute, Stanford University
l Lecturer, San Francisco State University
EoucATloN
- Ph.D., M.A., Stanford Universitv, Applied Econornics
Dissertatiori topic: ”Economics of Residential Energy Conservation and Price Response"
' B.S. with Honors and Distinction, Cornell University, Agricultural Economics
RELEVANT ExPERrENCE
' Retained as economic expert and consultant in over 2,000 cases since 1935. Testified in

state and federal courE on economic loss related to employment ten'nination,
discrimination, personal injurv, medical malpractice and wrongful deathi

 

PusuCArloNs
' ”Residential Energy Conservation and Price Response”, U.S. Government
- “Commodity Forecasts”, Bank of America

PaoFEsSioNAL ACnvl'riES
' National Association of Forensic Economics

ECONOMIC SOLUTIONS,l INC.
1000 Elwell Court, Suite 214 ¢ Palo Alto, CA 94303 - (650) 330-0345 - www.economicsolutions.org

 

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n i rea v. Treece & St. Luke Health 2012

DEPOSITION TESTIMONY

 
    
 

 

 

  

Margo Rich Ogus, Ph.D.
2011 through 2014

 

 
 

Abrea v. Treece & St. Luke Health 2014
Aguilera v. Hilltown 2014
Aguilar v. State of CA 2012
Benjamin v. UPS 2013
Bertoli v. State of`Caiifornia 2014
Black v. USPS 201 1
Branicki v. Roebers 2013
Brown v. C.W. Driver 2013
Brown-Pruitt v. Oakland Coliseum 2014
Bui v. CCSF 2014
Burgess~MoFfett v. Walmart 201 1
Cabaniss v. PG&E 2014
Campbell et al. v. Dwayne Martin 201 1
Captain v. K-Mart 2014
Carter v. Kone, et al 2012
Cortez v. Nongshim 2012
Cosa Del Zelle HOA v. Diamond 2014
Dale v. Santa Clara University 201 1
Del Rosario v. Community Clinic Ole 2011
Deshayes v. Chew, MD, Alta Bates Summit Medical Center, et al 2012
Deshayes v. Chew, MD, Alta Bates Summit Medical Center, et al 2013
Doubt v. NCR 2013
Duenas v. AC Transit, et al 2012
Esquivel v_ Sutter, et al 2014
Eze v. D&G Sanitation, et al 2014
Favorito v. Allied Insurance 201 1
FitBimmons v. CEPG 2014
Francisco v. AC Transit 2014
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Frisch v. Sullivan 2011
Fung v. On Lok 2011
Gallot v. California Dry Wali 201 1
Gaur v. City of Hope 2012
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Ghai v. Larson 2014
Gocke v. Verma 2013
Gottlieb v. Equinox 201 1
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Guan v. Natural Wonder 2013
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Hammonds v. Stanf`ord Hospital 2012
Haley v. Cohen & Steers 2012
Hanson v. San Bemardino County 201 1
l-Iarrison v. Foster City 2013
Hirshberg v. The Cooper Companies 2012
Hunwardsen v. Taylor Properties 2012
Hussein v. Farmers insurance Exchange 2012

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Jackson,etalv.Bucci

Johnson v. Yong Bin Yang
Jonesv.RobedS

.‘lorge v. DeFonseca & Culinary lnstitute
Kabkiv.CCSF

Kaov.USF

Kebric and Kingdon v. Oakland Raiders
KmTv.CCSF

Keyzer v. UC Davis

Khoury v. UC Riverside

Kirchenbauer v. BART

Klosek, et al v. Wells Fargo Bank

Lee v. Caruso-Soares

Lewis v. Save Man Supermarkets
Leyha v. Wright

Lieberman v. Walmart

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Manalo v. American Management Services
Mancuso v. KPMG
Mmedeme&s
Mminv.CstUSD

Mayorga v. Doctors Medical, et al
Mendez v. PiclcN Pull

Miller v. Kaiser
NHmheHv.CHyofSonoma
Montelongo v. Walmart

Moreno v. AARP

Moreno v. Delicato Vineyards

Motil v. Ca!-Pac Sonoma

Murdoch v. Brock Solutions

Murphy v. Chesley

Naiman v. Orac1e

Narayanan and Femandez v. The State of Nevada
Niswonger v, PG&B

Ortega & Yuan v. UC Regents

Osbom v. Costco

Patch v. State of Califomia

Patch v. State of Ca1if0rn1a
PawHkv.Chm

Pedowitz v. UCLA

Pomeroy v. Walmait

Poole v. CPMC

Propheter v_ Golden Gate Bridge
Ramirez v. Brite, et al

Raymundo v. C1in1ca de Salud De Salina.s
Rogers v. Asbestos Defendants

Ruiz v. Califomia Pacif`lc Medica] Center
Russell v. A&R Automotive

Salim v. Sunnyvaie Acura

Sappington v. Henkel

Schaufv.hdamon

Schuherv.SJSU

Schulter v.SJSU

Schmidig v. Castro

Shirling v. Farmers Insurance

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Silva-Medina v. Mcl(insey and Co. 2012
Taganas v. USA 2013
' Tayior v. Carme1 P1aza 2011
Tengan v. Babak Enterprises 201 1
Tindal] v. Hoedt 201 1
Troncoso v. PG&E 201 1
Tutt1e v. Dal Tile, et al 2013
Tzvetanova v. Wa1malt 2013
Vargas v. One West Bank, et al 2012
Wang v_ Natural Wonder 2013
Ward v. Future US, Inc 201 1
Weadocl< v. Budman 201 1
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Wiilnerd v. Sybase 201 l
Wilson v. HaIley»Davidson 201 1

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ECONOM1C ' TR_IAL a ARBITRATION TESTIMONY

SOLUT10N Margo Rich Ogus, Ph.D.

 

Aguilar v. State ofCalifornia Sonorna 2013
Alvarez v. l-less Corporation Contra Costa 201 1
Bocl-; v_ City of Healdsburg Santa Rosa 201 1
Burre|] v. County of Santa Clara San Jose ~ Federal 2013
Campbe]l, et al v. Dwayne Martin, et al Sacramento 201 1
Carter v. Kone, et al Alameda 2012
Choy v. Toyota Berkeley San Francisco - Arb 2014
Dale v. Santa Clara University Santa Clara 2012
DeFine v. Citibank San Francisco 2013
Deshayes v, Chew, Aita Bates Alameda 2013
§§ v. D&G Sanitation, et al Santa Cruz 2014
Fitsimons v. CEPG Alameda 2014
Francisco v. AC Transit A|ameda 2014
Fung v. On Lok San Francisco 2012
Gaur v. City of Hope Los Angeles ~ Federal 2012
Guitierrez v Tha Meadows Napa 201 1
Hanse|man v. FedEx Alameda 201 1
Hussein v. Farmers Alamcda 2012
Jackson v. Bucci Solano 2011
Jacobs, et al v. Medical Anesthesia Consultants Grp Contra Costa 201 1
Jones v. Roberst San Mateo 2014
Kao v. USF San Francisco 2012
MacLean v. Hertz San Diego 2011
Mariofle v. Vo]vo Trucl-;s San Francisco _ Federai 2012
Mifler v. Kaiser San Francisco 2013
Minielio v. PG&E San Francisco 2011
Moreno v. Delicato Vineyards San .loaquin 2014
Murdock v, Brock Solutions San Francisco 2014
Neustadter v. The Granada San Francisco 2013
Niswonger v. PG&E Santa Cruz 2013
Pedowitz v. UCLA Los Angeles 2014
Raymundo v. Clinica de Sa|ud De Salinas Monterey 2013
Salirn v. Sunnyvale Acura Alameda 2013
Sappington v. chkel Contra Costa 2012
Shanl< v. CRST Trucking San Bernardino 201 1
Vanderheidcn v. City of Alameda Alameda 201 l
Villanueva v. A&F San Matco 201 1
Ward v. Future US, 1nc San Mateo 2011
Watkins v. Central Freight Alameda 2012
Weadock v. Budman San Francisco 2012

(Last updated - January 2015)

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ATTACHlVlENT F

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DARRYELLE LAWAN NA PRESTON v. C1TY OF OAKLAND, DEANNA SANTANA
UN|TED STATES DISTRlCT COURT
NORTHERN D|STR|CT OF CAL|FORN|A
COURT CASE NO. l4~CV-02022-NC

Jury Trial: Monday, September 14, 2015

JO|NT TR|AL EXH|B|T LlST

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7 A 1/26/07 Employment App|ication with City of Lawanna Preston
Oal<land#l-luman Resource |\/lanager
{OA|< 00000902-903)

 

B 4/12/07 Clt\/ of Oal<land, Administrative instruction re ludicia| Notice
E|ectronic Media Polic\/ (E)<hiba`t Q-Dec|aration of Sonia
|\/lehta Opposition |\/151)

 

C 7/1/08 Memorandurn of Understandlng between City l_awanna Preston
of Oal<|and and |nternationa§ Association of ludicia| Notice
Firefighters Loca| 55 (7/1/08 to 6/30/12)(LP 517-521}

 

D 7/6/11 Emp|oyrnent Agreement by City of Oal<|and Deanna Santana
and Deanna Santana (E)<hibit R-Dec|arati`on of Sonia
Mehta Opposition |\/LSJ) (l_P 1-4)

 

 

 

E 9/26/11. emal'l from Andrea Gourdine to Darrye||e Lawanna Preston §/:/15_95
LaWanna Preston re FW: Assistant Cit\/ Administrator$ R@:::;:J;
lohnson and Blacl<We|| (LP 19-23} (Fed.R.Evid.

401, 4021
Hearsay
(Fea. R. Evid.
801~303)

F 11/6/11 email from Barbara Par|<er to Darrye|le LaWanna Preston 8/]31_0/1_5 PL
LaWanna Preston re interference in Admiantration Barbara Parl<er ?R£gloniog
(LP 45-48) 802

G 12/13/11 Agenda Report from Communit\/ and LaWanna Preston

Econom‘:c Deve|opment Agenc\,/ to Deanna Santana re Deanna Santana
Resolution Amending Resolution No. 83165 C.|\/l.S. To
Authorize An increase |n The Contract With Pu|te
Homes For The Construction Of The Rainbow Teen
Center By 530,699 From 5121,000 105151,699 10 Pa\/
For Prevailing Wage Costs (OAK 00000781~734)

 

 

 

 

 

 

 

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DARRYELLE LAWAN NA PRESTON v. C|TY OF OAKLAN D, DEANNA SANTANA
UN|TED STATES D|STRECT COU RT
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COU RT CASE NO. l4-CV~02022-NC

Jur\/Tria|: Monday, September 14, 2015

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1/5/12emai1 from Howard-Jordan to Deanna Santanau 13eanna Santana '31;’1_'6""1_5"*;_[
re: Pu|te re Rainbow (Exnibit S-Deposition of Deanna HoWard Jordon §Rée:g§n£l@g
Santana, Vo|. l) (OAK00010078~10080) 802
1/5/12 emai1 from Deanna Santana to Des|e\/ Broo|<s, Deanna Santana
Fred B|acl<wel| re Pu|te re Rainl;)ow Fred Blacl<we|l
(OA|< 00000853-854) Desley Brool<s
1 1/6/12 emaii from Deanna Santana to Des|ey Brool<s, Deanna Santana ;/:P/:'\_S P_L
Fred B|acl<Wel| re Pu|te re Rainbow FR§E:;':“AOB
lOAK 00005495-5497)
K 1/20/12 email from Deanna Santana to Darrye|le Lawanna Preston 3/;9/?§5 P_L
LaWanna Preston, Sabr?na |_andretr), Scottlonnson re Deanna Santana €R]EE$::U
LaWanna (LP 60#63) 302
|_ 2/16/12 email from Karen Bo\/d to Deanna Santana, Deanna Santana 3/1_0/1,5 PL
Scott Johnson, Fred B|ackwel| re SF Chronicle story A|exandra Oro|ogas g::;t)':nt`mi
about RainboW Teen Center (OAl< 00005661-5666) 302
l\./i 2/16/12 Agenda Report from Fred Blacl<We|| to LaWanna Preston 3/;0/1§ PL
Deanna Santana re Rainbow Teen Center Deanna Santana €R]EE:§;:O:_;
(OAK 00000785-797) Fred B|acl<Wel| 802
l\| 2/16/12 Agenda Report from Fred Blacl<We|l, LaWanna Lawanna Preston
Preston to Deanna Santana re Ra:'nbow Teen Center, Deanna Santana
Signed by Santana on 2/16/12 (OA|< 00000852) Fred B|ac|<Wel|
O 2/20/12 email from Deanna Santana to Barbara Parl<er Lawanna Preston
re CONFEDENT|AL DRAFT re Rainbow Teen Center Deanna Santana
(LP 94-95) Fred B|acl<Wel|

 

 

 

 

 

 

 

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DARRYELLE LAWANNA PRESTON v. C|TY OF OA|(LAND, DEANNA SANTANA
UN|TED STATES D|STRICT COURT
NORTHERN DlSTRfCT OF CALiFORN|A
COU RT CASE NO. 14~CV~02022-NC

Jury Tria|: Monday, September 14, 2015

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2/20/ emai| from Barbara Parl<er to Doryanna
Moreno, Deanna Santana, Fred Biackwel|, Darryel|e
|_aWanna Preston re BjP's red|;`ned comments and
questions and proposed edit$ (LP 961

Lawanna Preston

Deanna Santana
Fred Blacl<We-il
Barbara Par|<er

 

2/24/12 Agenda Report from Fred B|ackwe|l, Preston
to Deanna Santana (Exhibit 1-Deposition of Fred
Blackwe||) {LP 97#119)

Lawanna Preston
Deanna Santana
Fred Blacl<We-l|
Barbara Parker

 

3/1/12 emai1 from Darryel|e LaWanna Preston to
Sabrina Landreth, Ale)<andra Orologas, Deanna
Santana re Paragraph (OAK 0013454-13458]

Lawanna Preston
Deanna Santana
Aiexandra Orologas

 

3/6/12 emai| from Darrye||e LaWanna Preston to
Deanna Santana re Sorry (Exhibit 3-Deposition of
Darrye||e Preston)(OA|<000057031

Lawanna Preston
Deanna Santana

 

3/6/12 emai| from Deanna Santana to Darryei|e
LaWanna Preston re Sorry (Exhibit 4-Deposition of
Darrye||e Preston) (OA|<OOOOB`/'OG]

Lawanna Preston
Deanna Santana

 

3/6/12 Video Recording of City Counci| Meeting, filed
manually (E)<hiba‘t G-Dec|aration of Sonia Mehta
Opposit`lon 1\/151) {Section 3:56:20-4:06:53 only)

LaWanna Preston
Deanna Santana

 

3/6/12 Memorandum from Fred Blacl<We|| to Deanna
Santana re Rainbow Teen Center
[O/-\|< 00001135-1138)

Lawanna Preston
Fred Blacl<wel§

8/10/15 PL
Objection:
FRE 401, 403,
802

 

 

 

3/7/12 emai| from Deanna Santana to Fred Blacl<wel|,
Darrye|le LaWanna Preston, Andrea Gourdine, |<ip
Wa|sh, Audree \/. Tay|or, Scott Johnson re Rainbow
Teen Transition (O/-\K 0013431)

 

Lawanna Preston
Deanna Santana
|<ip Wa|sh

 

 

 

 

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DARR\’ELLE LAWANNA PRESTON v. C|TY OF OAKLAND, DEANNA SANTANA
UN|TED STATES DISTR|CT COURT
NORTHERN DlSTR|CTOF CAL|FORN|A
COURT CASE NO. l4-CV~02022-NC

Jury Tria|: Monday, September 14, 2015

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re: A couple of things (LP 522)

3/23/-12 lemail from 1eresa Reed to i_aw'anna- Preston

 

mars/15 DEF

Objection:
Reievance
(Fed.R.Evid.
401, 402)

 

4/5/12 emaii from Deanna Santana to i-ioWard lordan
re FY|..i don't know Gary (OAK 00005652-5654)

Deanna Santana
Howard Jordon

8/10/15 PL
Objection:
FRE 401, 403,
302

 

Employee Performance Appraisa| Form and
Performa nce P|an for LaWanna Preston, April 30,
2011-|\/1ay 1, 2012 (OA|<00001077-1082)

Lawanna Preston
Deanna Santana

3/5/15 DEF
Objecijon:
Foundation
(Ped. R. Evid.
§ 5021

Relevance
(Fed.R.Evid.
401, 402)

Hearsay
(Ped. R. Evid.
801¢803).

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Autbenticated
[Fed. R. Evid.
9011

 

1151

5/11/12 emai| from Darryel|e Lawanna Preston to
Scottjobnson re |<atano |<asaine (LP 167-158)

Lawan na Preston
Deanna Santa na
Scott iobnson

8/10/15 PL
Objection:
FRE 401 403,
802

 

lB

7/20/12 emai| from Darryel|e LaWanna Preston to
Deanna Santana re FW: Loca| 21 vs 12918 applicability
in making a salary appointmentl CONFiDENTiAi_

(LP 217~219)

Lawanna Preston
Deanna Santana
Andrea Gourd'ine

8/10/15 PL
Objection:
FRE 401 403,
802

 

lC

 

 

8/14/12 email from |<atano |<asaine to Scottlobnson,
Deanna Santana RE: i_abor Questions from Fitcb
ratings (0Ai< 00013405-13407)

 

Deanna Santana
|<atano Kasaine
Scottjohnson

 

8/10/15 PL
Objection:
FRE 401/ 4031
802

 

 

 

 

 

 

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DARRYELLE LAWAN NA PRESTON v. C|TY OF OAKLAND, DEANNA SANTANA
UNlTED STATES DlSTR|CT COURT

NORTHERN D1STR|CT OF CALlFORN|A
COURT CASE NO. 14-CV-02022-NC

Jury Tria|: Monday, September 14, 2015

JOlNT TR|AL EXH|B|T LlST

 

 

 

 

 

 

 

     

 

Lawanna Preston

 

 

 

 

 

 

 

10 8/15/12 emaiifrornDarrye le Lawanna Preston to
Deanna Santana re FW: Cobra Reimbursement for Deanna Santana
Susana i\/iacarron (LP 220~224)

15 1/4/13 emai| from Deana Santana to LaWanna Deanna Santana 8/:_/15_95
Preston, HoWard 10rdan, Phi|ip EWel| re; FW: Letter §Ef:\::];
regarding ”Return of a Day" jan 4, 2012 (Fed.R.Evid_
(0Ai<00000414-416) 101» 1021

Hearsay
(Fed. R. Evid.
301“303)
1F 1/29/13 inter Office Memorandum from Sonia Lara to |_aWanna Preston 3/;9/1_5 PL
Darryel|e |_awanna Preston re Response to Deanna Santana ERF:§HOB
l\/|emorandum dated January 11, 2011 from Andrea R. Sonia Lara 302
Gourdine titled “Deborab Grant incident Report"
(LP 237»238)

16 1/29/13 inter Office i\/|emorandum from Darryei|e LaWanna Preston ago/1150
Lawanna Preston to Deanna Santana re Response to Deanna Santana ?Rée:§§n¢§rw
A. Gourdi`ne memo dated January 11, 2011 (Wrong 302
date) (LP 239¢240}

11-1 3/8/13 email from Deanna Santana to Darrye|ie LaWanna Preston 3/;0/1_5 PL
|_aWanna Preston re Agreement Deanna Santana ?Rée:§:n£`m§]
(OA|< 00001323-1329) 302

11 3/8/13 emaii from Darrye|le LaWanna Preston to Lawanna Preston 8/[)1'9/1'5 P'-
|_amont Ewe1| re Fwd: agreement Phi|lip Lamont Ewe|l ER]:E::O:_L
(OA|< 00011906-11907) 802

11 3/10/13 emai| from Darrye||e LaWanna Preston to Lawanna Preston 339/15 PL
Deanna Santana re Agreement (OAK 00009247~9249) Deanna Santana FR]EE:§:“AO:_;

 

 

 

802

 

 

 

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DARRYELLE LAWANNA PRESTON v. C1TY OF OAKLAN D, DEANNA SANTANA
UN|TED STATES DlSTR|CTCOU RT

NORTHERN DlSTRlCT OF CAL|FORN[A
COU RT CASE NO. 14-CV-02022~NC

Jury Triai: lVlonday, September 14, 2015

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11< iJhilip `La'm{ont éwe|i's Confidentiai SummaryReport re: awanna Preston §/b_
. . . _ . jection:
union negotiations Pebruary 20, 2013(1_P 253-257} Phiiiip tamont Ewe|| Re|evance
irad.R.Evaa.
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s01ra031
Foundation
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§602
11 3/21/13 City of Oai<iand i\ionminterierence in Deanna Santana §/blo/l§’ PL
. . . . . jection:
Administrative Affalrs Performance Audit Courtney Ruby FRE 401 403)
(FY 2009-2010, FY 2011-2012] 502
lOAK 10697, 10715€10713)
11\./| 4/2/13 emai| from Darrye||e LaWanna Preston to Lawanna Preston
Trinette Gist-S|<inner, Deborah Grant, i<ip Wa|sh, Katano Kasaine
i<atano Kasaine, Dennis C. Kong RE: Union due Trinette Gist-Si<inner
deductions (OAK 00000435-438} Kip Waish
1N 5/19/13 email from Darryei|e LaWanna Preston to Lawanna Preston
Deanna Santana Re: Labor (OAK 00005390) Deanna Santana
10 6/6/13 email from TC Everett to Judith Dali<e, Lawanna Preston B/-"_/EPE|F
Darrye||e i_aWanna Preston, Sonia tara re: LaWanna T.C. Everett §:|J:::’:e'
Preston stopped receiving emails yesterday iLP 271)` iFed.R.Ev'ra.
401#402
Hearsay
iFed. R. Evid.
3014303)
Poundation
(Fed. R. Evid.§
602

 

 

 

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DARRYELLE LAWANNA PRESTON v. C|TY OF OAKLAN D, DEANNA SANTANA
UN|TED STATES D|STR|CT COURT
NORTHERN D|STR|CT OF CAL1FORN1A
COURT CASE NO. 14-CV-02022-NC

JuryTria|: Monday, September 14, 2015

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1P iijeanna Santana emaii to i<atano Kasaine, etc 're. Deanna Santana Ob
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SE|U, August 6, 2013 (LP 321) Katano Kasaine Foi:d:;ir;n
lFed. R. Evid.
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ired.R.Eyici
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Hearsay
lFed. R. Eyid.
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10 6/13/13 emaii from A|e)<andria Oro|ogas to Darryei|e LaWanna Preston
LaWanna Preston, Deanna Santana, Scottjohnson re Deanna Santana
Wee|<ly Labor/Budget |\/|eetings (OAI< 00000742) A|exandra Orologas
1R 6/13/13 emaii from Deanna Santana to Darrye||e i_awanna Preston §/;0/1_5 P_l-
LaWanna Preston re Costing Documents Deanna Santana FR;&;§:EOB,
{OAK 0013615-136161 802
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LaWanna Preston re Costing Documents Deanna Santana FR§:§:H;LOBJ
(OAI< 0013532-13534) 302
11 6/13/13 emaii from Deanna Santana to Darryei|e Lawanna Preston 3/;_0/1_5 PL
LaWanna Preston re Costing Documents Deanna Santan& griée:;|:n»-,Os,
ioAi< 0013645~13647} 302
10 6/13/13 emaii from Darrye||e LaWanna Preston to i_awanna Preston 3/§9/1_51’1
Ale)<andra Oro|ogas, Deanna Santana, Scott johnson Deanna Santana ER:;§§:GB
re Weel<|y Labor/Budget i\/ieetings {OAi< 00001822) Howard Jordon 302
Aie)<andra Oroiogas
1\/ 6/20/13 emaii from Trinette Gist-S|<inner to Winnie Lawanna Preston
Anderson, Donna Hom, i\/iari< Hoffman, Stewart Winnie Anderson
i`\/icGehee re Pararned`ic Support Program (PSP) Trinette Gist~S|<inner
(OA|< 00013409)

 

 

 

 

 

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DARRYELLE LAWANNA PRESTON v. C|TY OF OAKLAND, DEANNA SANTANA

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JO|NT TR|AL EXHEB|T LlST

 

 

 

 

  

 

 

 

 

 

 

 

6/21/ emai rom Wlnnie Anderson toTrinette GiSt--

|_aWanna Preston

 

 

 

 

 

 

ivy
Si<inner, Donna Hom, i\./iari< i-ioffrnan, Stewart Winnie /-\nderson
i\/icGehee re: Paramedic Support Program (PSP) '|'rinette GisteSi<inner
(OAK 000010171

lX 6/24/13 emaii from W`lnnie Anderson to Trinette Gist- Lawanna Preston
Si<inner, Stewart i\/icGehee, i\/iari< i-ioffman, Tracey Winnie Anderson
Chin, Teresa DeLoach Reed re: Paramedic Support Trinette Gist~Si<inner
Program (PSP) (O/-\K 00001020“1023) Teresa DeLoacn Reed

1Y 6/25/13 emaii from Winnie Anderson to Trinette Gist- Lawanna Preston
Si<inner re Paramedic Support Prograrn (PSP) Winnie Anderson
(OAi< 00012115¢1_21191 `l'l‘|`n€tte GisteS|<inner

Teresa Detoach Reed

12 6/25/13 emaii from Tr1nette GisteS|<inner to Winnie i_awanna Preston
Anderson RE: Paramedic Support Progr-arn iPSP) Winnie Anderson
(OAK 00001033~1046) Trinette GiSt-S|<inner

2/-\ 6/26/13 emaii from Winm'e Anderson to Dariyei|e Lawanna Preston
LaWanna Preston re Faiiure to Co|lect Dues Grievance Deanna Santana
TPTS 06 26 (OAK 00007381-7382) Winnie Anderson

joe |<effer
215 6/26/13 emaii from Winnie Anderson tojoe i<effer, Lawanna Preston

 

Darrye|ie l_aWanna Preston, Deanna Santana, Sonia
La ra, An ne Campbel|-Wasbington, Scott Seneca, Pete
Caste||i re Fai|ure to Co|iect Dues Grievance TPTs 06
26 {OA|< 0013970)

 

Deanna Santana
Winnie Anderson
Joe Keffer

 

 

 

 

 

 

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ke/ze/ls`ari&aiiirom 10a i<efr'e'r'ia'b`ar'ryéi'ié'L'aw§-BBHS

Preston, Deanna Santana, Winnie Anderson, Sonia
Lara, Anne Campbeli-Washington re Fai|ure to Collect
Dues Grievance `l'P`|'s 06 26 (Exhibit 6-Deposition of
Darrye|ie La\i'\/anna Preston}

awanna Preston
Deanna Santana
Winnie Anderson
10e Keffer

Sonia Lara

 

 

20

6/28/13 Agreement between The City of Oal<|and and
international Association of Firefighters, i_oca155
(E)<hibit 2-Deposition of Winnie Anderson)
{OAK00005439)

Lawanna Preston
Winnie Anderson
Trinette Gist-Sl<inner
Teresa DeLoach Reed

 

2E

7/3/13 emaii from Darrye||e La\i'\/anna Preston to
Barbara Parl<er, Doryanna l\/loreno, Jamie Smitb re
FW: Amending the Local 55 i\/iOU (LP 283-2851

Lawanna Preston
Deanna Santana

_ Winnie Anderson

Teresa DeLoach Reed

 

2F

7/3/13 emaii from Winnie Anderson to `|'eresa
DeLoacb Reed, Darrye|le LaWanna Preston re Local 55
(OA|< 00001050)

Lawanna Preston
Deanna Santana
Winn`le Anderson
Teresa DeLoach Reed

 

26

7/3/13 emaii from Teresa DeLoach Reed to Deanna
Santana to Winnie Anderson, Darryelle LaWanna
Preston, Deanna Santana re Loca155

(O/-\i< 00001051~1052)

Lawanna Preston
Deanna Santana
Winnie Anderson
Teresa DeLoach Reed

 

211

 

 

7/3/13 emaii from Darryelle LaWanna Preston to
Deanna Santana, Doryanna i\/|oreno, Barbara Parl<er,
Randolpb Hali re Request for legal advice re Fire
Chief's extension of Local 55 agreement/side|etter
(LP 290-2911

 

Lawanna Preston
Deanna Santana
Barbara Parl<er

 

 

 

 

 

 

 

 

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W7/4/1Bema1 irorn Darrye e La

anna Preston to
Desley Brool<s re Fwd: Amending the Local 55 i\/iOU
(E)<bibit EeDeclaration of Darryelle Preston Opposition
i\/iSJ) (LP 286-2891

Lawanna Preston

Deanna Santana
Barbara Parl<er
Desiey Brool<s

 

 

 

 

 

 

 

21 7/5/1.3 emaii from Winnle /-\nderson to Teresa Lawanna Preston
Dei_oach Reed, Darryeile LaWanna Preston, Deanna Deanna Santana
Santana re i_oca| 55 (OA|< 00007358-7359) Winnie Anderson
Desley Brool<s
2l< 7/5/13 emaii from `|'rinette Gist~S|<innerto Preston, Lawanna Preston
Winnie Anderson re PSP Program Status (E)<bibit 3- Deanna Santana
Deposition of Teresa DeLoach Reedl Winnie Anderson
(O/-\K00005436-5437) Trinette GiSt-Sl<`inner
Teresa DeLoach Reed
2L 7/6/13 emaii from Deanna Santana to Teresa Del_oach Lawanna Preston
Reed, Darrye|le LaWanna Preston, Deanna Santana, Deanna Santana
Donna Hom re: Ciosed Session PSP 7/3/13 Teresa DeLoacb Reed
ioAi< 00005330-5334)
21\/1 7/11/13 emaii from Darryel|e LaWanna Preston to Lawanna Preston
Zachary Unger, Teresa Dei_oacb Reed, Dan Robertson, Deanna Santana
Trinette Gist-Sl<inner, Winnie Anderson re FW: Any Winnie Anderson
word? {OA|< 00001056-1058) Trinette Gist-Sl<inner
21\1 7/11/13 emaii from Darryei|e LaWanna Preston to Lawanna Preston
LaTonda Simmons re FW: Correction i\ieeded-W Deanna Santana
Anderson Pay Rate (OAi< 00009297~9298} Sonia La ra
i<atano Kasaine
i_a`l'onda Simmons
20 7/12/13 emaii from Deanna Santana to Preston, Sonia i_awanna Preston

 

Lara re Correction |\ieeded-W Anderson Pay Rate
(LP 294-295}

 

Deanna Santana

 

 

 

 

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`"'7"/' '/'i's'c'ii'y ar'da'i'<'ia'hd,'wééahg inur'é§i'e spa'¢i'aim Judi<;iai usage `
i\/leeting of the 0al<land City Councii (Exhibit P-
Declaratlon of Sonia i\/iehta Opposition 1\/151)

 

 

 

 

20 7/26/13 email from A|exandra Oro|ogas to Darrye|ie Lawanna Preston 3/1_0/15 P'-
taWanna Preston, Deanna Santana re i\/iOU closed Deanna Santana g;ée:§:n;@l
session reports (OAK 00000734) Aiexand ra Oro|ogas 802

213 7/26/13 emaii from Deanna Santana to Darryelle Lawanna Preston 5/1_0/]_5 PL
i_aWanna Preston, )'-\lexandra Oro|ogas re |\/lOU closed Deanna Santana g:ée£lc;':n;@g!
session reports (OAi< 00005404) Alexa nd ra Oro|ogas 802

25 7/29/13 emaif from Deanna Santana to Darrye||e Lawanna Preston 3/1_0/1_5 PL
Lawanna Preston, Barbara Parl<er, A|exandria 0roiogas Deanna Santana E:ée$:njro&
re OPOA Closed Sess'lon Labor Report 1)'-\ annuitants Alexandra Orologas 802
7/30/13(1_P 309-3121 Barbara Par|<er

21 7/30/13 emaii from Deanna Santana to Darn/elie Lawanna Preston 3610/15 PL
LaWanna Preston, Barbara Parl<e r, Alexa nd ra Deanna Santana E:ée;'::@&
Oroiogas, Arturo i\/i. Sanchez re FW: OPOA Closed A!exandra Orologas 802
Session Labor Report TA annuitants 7/30/13 Barbara Par|<er

(LP 313-3161

 

20 7/31/13 emaii from Zac Unger to 1eresa DeLoach Lawanna Preston ;/;0/15 PL
' Cf` :
Reed, Stewart i\/icGebee, Dan Robertson, Deanna Deanna Santana FR§O'§'LOB
Santana re Paramedic Support Program ends Teresa DeLoach Reed 802

tomorrow (O)'-\K 00005435)

 

2\/ 8/1/13 ema`:| from Deanna Santana to Katano Kasaine, Deanna Santana gic/15 Pl-
Preston, A|e><andra Orologas, Fred B|acl<we|i, Donna l<atano Kasaine FR;€:§§HAOB
i-iom re Scheduling i\/ieeting on August 5, 2013 802

lExbibit 2-Deposit10n of Deanna Santanal (LP 319)

 

 

 

 

 

 

 

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'2w

Lawanna Preston

 

 

 

 

 

 

 

 

8/5/13 emaii from Darryelle La anna Preston to
Winnie Anderson, i<atano Kasaine, Sonia Lara re Winnie Anderson
10pics SEIU wishes to discuss on August 6“‘, if you are Sonia Lara
available (E)<hibit 5-Dep0sition of Darrye|le Preston) i<atano Kasaine

2X 8/6/13 handwritten notes re SEiU TPT Discussion Winnie Anderson
(Ex|'iibit ZeDeposition of Sonia Lara) Sonia Lara
(OAK00014062-14063) KatanO Kasaine

2Y 8/6/13 handwritten notes re meeting with i<atano Winnie Anderson
i<asaine, Sonia i_ara, Winnie Anderson Sonia Lara
(Exhibit 16~Deposition of Dwight l\/icElroy) Katano Kasaine

22 8/6/13 emaii from Winnie Anderson to |<atano Lawanna Preston
Kasaine, Preston, Sonia Lara re issues raised by SEiU Winnie Anderson
{E)<hibit 2-Deposition of |<atano i<asaine) Sonia Lara
{OAK00000987~938) l<atano Kasaine

3/-\ 8/6/13 emaii from Deanna Santana to Darryelie Lawanna Preston :GGQF’ P_'-
Lawanna Preston, Amber TOdd re TPT i\/|eetings Deanna Santana FR;:[;:':OB,
lLP 340-341) 802

36 8/13/13 emaii from Donna i-iom to Darryelle LaWanna Lawanna Preston {B)€_O/l_-“’ PL
Preston, Amber Tedd RE: ER staff assignments Deanna Santa na FR§E:;'::OB!
(OAi< 0013862) Donna i-iom 802

3C 8/16/13 emaii from Darryelle i_aWanna Preston to Lawanna Preston B/bl_U/l_E P_L
Deanna Santana, Am ber TOdd re TPT i\/ieetings Deanna Santana ?R§e;':n;ml
(OAK 00000447-450) 802

30 8/19/13 emaii from Scottiohnson to Sonia Lara, Lawanna Preston

 

`i'rinette Gist-S|<inner, Teresa DeLoach Reed, Arturo |\/i.
Sanchez, Deanna Santana, Darrye|le l_aWanna
Preston, i<atano Kasaine re FW: PSP vote
(OAK00006986)

 

Sonia Lara
ScottJohnson

 

 

 

 

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3E 9/2/13 titl\'/"ot Oa|<land Grieua'nee"#orm, Teniporary Lawanna 'P r'eston

Part T`irne (TPT) Contract (OAK 00010696)

 

3F 9/3/13 Agenda Report from Teresa Dei_oach Reed to Deanna Santana
Deanna Santana re Changes to the Prornoted Teresa DeLoaCh Reed
Pararnedic Support Program (LP 354-356)

 

 

36 9/5/13 email from Joe |<effer to Darr\/e||e La\/Vanna Lawanna Preston
Preston, Deanna Santana, Jean Quan re Fai|ure to Deanna Santana
Co||ect Dues Grievance (Exhib§t A»De<:iaration of Katano Kasaine
Deanna Santana i\/ISj} (OA|<00013425-13426) Joe |<effer
Jean Quan
3|-i 9/6/13 City ot Oai<iand & SEiU Contract Bargaining, Lawanna Preston
Union Counter to City (E)<hl'hit 24~Deposition of Dwight MCEIroy

Dwight i\/IcE|roy)

 

 

35 9/10/13 ernai| from Katano Kasaine, Darrye!le Lawanna Preston
La\/Vanna Preston, Deanna Santana, Sonia Lara re Deanna Santana
Failure to Coiiect Dues Grievance (LP 369-371) |<atano Kasaine
31 9/10/13 emai| from Lawanna Preston to |<atano Lawanna Preston Stii‘”]ated

Kasaine, Deanna Santana, Sonia tara re: Faiiure to
Co]|ect Dues Grievance (I_P 372-373)

 

 

3|< 9/10/13 emaii from Deanna Santana, Katano Kasaine, Lawanna Preston
Preston, Sonia Lara re Fai|ure to Co|iect Dues Deanna Santana
Grievance (E)<hibit B-Deposition of Katano Kasaine} Katano Kasaine
(OA|<UOOlUBBl)

3L 9/11/13 emai| from Deanna Santana to Darr\/ei|e Lawanna Preston
Lawanna Preston re Requesting Reports Deanna Santana
(OAK 00000115-116) Katano Kasaine

Sonia Lara

 

 

 

 

 

 

 

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Lawanna Preston

 

 

 

 

 

 

 

 

3/12/13ernai trom-D'arryeile LaWanna Pres't'o'nt'o'
Sandre Swanson re FWd: SEIU grievance regarding Deanna Santana
withholding ot union dues iLP 380) Sand re Swanson
3|\| 9/12/13 ernail from Deanna Santana to Darrvelie Lawanna Preston
LaWanna Preston, Barbara Parl<er RE: SE§U grievance Deanna Santana
regarding Withholding of union dues (OA|< 0013483) Barbara Parl<er
30 9/12/13 ernail from Darryelle LaWanna Preston to Lawanna Preston 3/10/15 PL
. . . Objection:
Dan Siege| re FW: SE|U grievance regarding Deanna Santana FRE 4011 403
withholding ot union dues (OAi< 00005395} Dan Siege| 501-502
3P 9/15/13 emaii from Darryelle LaWanna Preston to Lawanna Preston
Deanna Santana re Temporar\/ PartTime Empio\/ee Deanna Santana
Bargaining (LP 384-386)
30 9/15/13 emaii from Darryei|e LaWanna Preston to i_awanna Preston
Sonia Lara re FW: Temporary Part Time Empiovee Deanna Santana
Bargaining (O."-\|< 00000179#186) Sonia Lara
3R 9/15/13 ernail from Deanna Santana to Darryelle Lawanna Preston
LaWanna Preston re Attached closed session report Deanna Santa na
(OAK 00001130-1133)
35 9/17/13 ernail from Deanna Santana to Darrvel|e Lawanna Preston
LaWanna Preston re Fwd: SE|U Part Time MOU closed Deanna Santana
session report (LP 387)
3T 9/17/13 emaii from Darrye||e LaWanna Preston to Lawanna Preston

 

Deanna Santana, Barbara Pari<er re SEiU grievance
regarding withholding ot union dues (LP 390-391)

 

Deanna Santana
Barbara Parl<er

 

 

 

 

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9/17/13ernai|t orn 'D`a'rrve|le LaWanna Preston to "i;awanna Pres'to'n" '3¢/:‘5:/`1_§'°'-
Dan 5iegel re Sa|arv ordinance for Emp|o\/ee Reiations Deanna Santana ER§[§'::O?U
staff (OAK 00001772»1784) Dan Siegel 501-502
3\/ 9/18/13 emaii from Deanna Santana to Darryei|e Lawanna Preston
Lawanna Preston, Barbara Parker re SEiU grievance Deanna Santana
regarding withholding ot union dues (LP 407-408) Barbara Pari<er
3W 9/19/13 emaii from Darryel|e i_aWanna Preston to Lawanna Preston
Barbara Parl<er, Dorvanna i\/ioreno re FW: Fai|ure to Deanna Santana
Collect Dues Grievance (LP 409-412) Barbara Parker
3X 9/27/13 emaii from Deanna Santana toioe i<etier re Deanna Santana
Fai|ure to Co||ect TPT Dues or Agenc\/ i;ees Greivance ioe i<etier
[E)<hibit 6eDeposition ot loe i<effer) (LP 425)
3Y 9/27/13 emaii from Barbara Pari<er to Deanna Santana Lawanna Preston
re SE|U grievance regarding Withho|ding of union Deanna Santana
dues (OA|< 00014080~14081) Barbara Parl<er
32 9/27/13 emaii from Joe i<effer to Deanna Santana, Deanna Santana SUPUlated
Lawanna Preston, Anne Carnpbe|l-Washington, Joe Keh‘er
Barbara Pari<er re Fai|ure to Co|iect TPT Dues or
Agenc\/ Fees Grievance (i\/icElro\/ deposition E)<hibit
20)
4A 9/23/13 emaii from Donna Hom to Deanna Santana Deanna Santana
RE: SEiU grievance regarding withholding of union Donna Hom
dues (OA|< 00014074-14075}
46 9/29/13 emaii from Donna Hom to Deanna Santana, Deanna Santana
Arturo Sanchez re SEiU grievance regarding Donna Hom
withholding of union dues (Exhibit 5~Deposition of
Deanna Santana) (OAK00010211-10213)

 

 

 

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i_awanna Preston
Barbara Parl<er, Deanna Santana re FW: Compiiant RE: Deanna Santana
SEiU Dues deduction grievance 9/2/13 (interiering an
investigation) (LP 434)
4D 9/29/13 emaii irorn Darr\/e|ie LaWanna Preston to Lawanna Preston
Cheryi Thornpson re Comp|aint RE: SEEU Dues Deanna Santana
deduction grievance 9/2/13 (interiering an Cheryi Thornpson
investigation) (LP 435~436)
45 9/29/13 emaii from Darryeiie LaWanna Preston to i_awanna Preston
Sandre Swanson re PW: Faiiure to Coiiect TPT Dues or Deanna Santana
Agency Fees Grievance (OAK 00001121) Sandre Swanson
Dan Siegel
4F 9/29/13 emaii from Darrye|ie LaWanna Preston to Lawanna Preston
Sandre Swanson re FW: Faiiure to Collect TPT Dues or Deanna Santana
Agency Fees Grievance (OAK 00001122) Sandre Swanson
Dan Siegel
46 9/29/13 emaii irom Darrye|ie LaWanna Preston'to Lawanna Preston
Cheryl Thompson re Compliant RE: SEiU Dues Deanna Santana
deduction grievance 9/2/13 (interiering an Cher\/| Thornpson
investigation) (LP 435-436)
4H 9/29/13 emaii irom Darrye|ie i_aWanna Preston to Lawanna Preston 3/1_0/1§ PL
Dan Siegel re FW: Compliant RE: SEiU Dues deduction Deanna Santana §§ée:§:n;@l
grievance 9/2/13 (interfering an investigation) Barbara Pari<er 501-502
(O/-\i< 00005478) Dan Siege|
4i 9/29/13 emaii from i_aTonda Sirnrnons to Darrvelle Lawanna Preston
LaV\/anna Preston re FW; Compiiant RE: SE|U Dues Deanna Santana
deduction grievance 9/2/13 (interiering an LaTonda Simrnons
investigation) (OAK 0000547&5477)

 

 

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41' 9/30/13emai| from john Lois to Deanna Santana, Deanna S'anta'na Ob' ct_ _
Oliver Cunningham re internal Affairs investigation John Lois FR]E:O'::OB
lE)<hibit E»Deposition of Sonia Lara 302

lOAK 00010579-10621l

 

4K 10/1/13 emaii from i<atano Kasaine to Dwight i\/icE|rov Katano Kasaine
re Meeting Re: `i`PT Grievance (E)<hibit 21-Deposition Dwight i\/icElrov
of Dwight i\/icElroy)

 

 

 

 

4L 10/1/13 emaii from Ale)<andra Orologas to joe i<effer Deanna Santana
re Response to SEiU's Grievance and i\/ieeting Request Aie)<andra Oro|ogas
{Exhibit 23-Deposition of Dwight McE|rov) Joe i<effer
4Ni 10/1/13 emaii from Darrvei|e La\/Vanna Preston to Lawanna Preston
Sonia |_ara re FW: information Request Deanna Santana
(OAK 00001833-1836} Winnie Anderson
Sonia Lara
4N 10/2/13 emaii from Winnie Anderson to Darrveile Lawanna Preston
i_aWanna Preston re information Request Deanna Santana
(OAK 0013854-13856) Winnie Anderson
Sonia Lara
40 10/2/13 emaii from Winnie Anderson to 5equonite i_awanna Preston
Buggs, Angela Osavande, Darryeile LaWanna Preston, Deanna Santana
Sonia Lara re information Request Winnie Anderson
(OAi< 00010395-10398) Sonia Lara

 

 

 

 

 

 

 

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4a 10/2/13 city/smu Local 1021 fiat'i\ié'go'fi§ii@ns 2013 Lawanna Pié`s"t`aii ' "SYb'S_'/l§_b'f_t"
Tentative Agreement (i<effer deposition exhibit 13) Joe Keffer §@,j:\::]:€'i
{Fed.R.Evid.
401, 402)
Subsequent
remedial
l'i"lESSUFES
iFed.R.Evid_
407;
4Q 10/3/13 City of Oal<iand Notice of Termination of Lawanna Preston
Emp|oyment {E)<hibit 1-Deposition of Deanna Santana) Deanna Santana
(OAK00000894-895)
4R 10/3/13 emaii from Deanna Santana to Darrve|ie Lawanna Preston
i_aWanna Preston re Services No Longer Needed Deanna Santana
(LP 440-442)
45 12/18/13 emaii from Sharon Holman to Katano Lawanna Preston
Kasaine re FW: SE|U Loca|1021:Audit-Active Non~
Payers (OAi< 00010684-10686]
4T 12/11/13 emaii from Katano Kasaine to Deanna Sonia Lara 315/15fo
Santana re: Fwd: meeting with SE|U on their grievance §E|l:\::];
(OAKOOOOBB'/`G) (Fed.R.Evid.
401, 402)
Subsequent
remedial
mEESUFES
{Fed.R.E\/id.
407)
Foundation
ired. R. Evid.§
sozi
4U 12/20/13 ernail from Winnie Anderson to A|an Winnie Anderson
Crowiey re Letter to SE|U TPT empio\/ees re: /-\gencv
Fees (OAK 0010648-10675)

 

 

 

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 76 of 122

DARRYELLE LAWAN NA PRESTON v. CiTY OF OAKLAN D, DEANNA SANTANA
UN|TED STATES DlSTR|CTCOURT
NORTHERN DISTRICT OF CALiFORN|A
COU RT CASE NO. 14-CV-02022-NC

JuryTria|: Nionday, September 14, 2015

JO|NT TRlAL EXH|B|T LlST

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4\./' 3/17/14 Fiied Summons and('jomplaint i_awanna Preston n finish/iff-
(E)<hibit 1-0eposition of 0arrye!|e LaWanna Preston) ER§§;:U
302
4W 3/19/14 SF Gate Articie re i§x-Oai<|and Emp|oyees Lost Judicial Notice §§9/15 PL
. . ject'ion:
10b for Refusing to Lie FRE ¢011403]
_soz
4)< 4/2/14 Dan Siegel video clip on Darryelle LaWanna 1udicial Notice §/:9/15 FL
. ject'ion:
Preston Lawsuit FRE 401 403
4Y 6/30/14 Oal<land Councii District 6 Race Campaign Lawanna Preston §/;0/1_5 P_l-
Finance Contributions FR§§:H£`LOB
42 6/10/15 0ec|aration of Darr'yelle i_aWanna Preston in Lawanna Preston §/;9/1_5 P_L
support of opposition to defendants' motion for FRF:§:HB`OZ
summaryjudgment
54 Undated Lawanna 0. Preston Resume {Exhibit A- Lawanna Preston
0eclaration of Darryelle Preston Opposition i\/iSJi
(LP 450-451)
5|3 Undated Oai<|and City Counci| Ordinance Amending Judiciai Notice
Salary Schedule (Exhibit 6~0eposition of Katano
i<asaine) {OAK00000032)
5C Undated investigative Report*SEiU Grievance to City Otis i\/icGee, 1r. 3/1_@/1_5 PL
of Oal<iand re Temporary Partiime (`i'PTl Contract ?:éeilc;':nliog
(E)<hibit 1-0eposition of Otis i\/icGee} 302
50 Alameda County Grand jury Report (2012-2013) Judiciai Notice 2110/15 PL
jection:
FRE 401, 403,
302

 

 

 

 

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 77 of 122

DARRYELLE LAWANNA PRESTON V. CiTY OF OA|(LAND, DEANNA SANTANA
UN|TED STATES DISTRlCT COURT
NORTHERN DlSTRlCT OF CALIFORN|A
COURT CASE NO. 14-CV-02022-NC

Jury Triai: Monday, September 14, 2015

JOlNT TR[AL EXH|B|T LlST

 

 

 

 

    

 

 

     

 

 

 

   

 

 

 

 

 

 

 

 

5E Plainti s Responses to Request for Production of Lawanna Preston ;/bld 5P
jection:
Documents {Set One) (Served on 11/19/14) FRE 401' 401
302
5F Piaintiff's Supplemental Responses to Request for Lawanna Preston B/bl_D/l_-“‘ P‘-
Production of Documents (5et One} gRlEe:§§nA;OB
(Served on 2/10/15} 302
56 Plaintiff’s Responses to Special interrogatories Lawanna Preston ;/EO/l§ PL
iSet One), with Verification (Served on 11/19/14) FR]EE;§::OB/
002
5i-i Piaintiff's Supplemental Responses to Special Lawan na Preston ;/;0/1_5 P_L
interrogatories (Set One), with \/erification FRlEE:§§nADg
iServed on 1/29/15) 502
5| Piaintiff's Responses to Request for Adrnissions Lawanna Preston ;/1319/15 P'-
jection:
iSet One) {Served on 2/30/15) FRE 401’ 401
002
53 1/12/12 emaii from Ale)<andra Orologas to LaWanna Lawanna Preston Stlifiulated
Preston, Scottiohnson re ER move (LP 59}
5K 2/15/12 emaii from LaWanna Preston to Aiexandra Lawanna Preston gif/lS'DEF
Orologas re Paragraph for LaWanna's Review Re|l::;'no;
{OAK 716) ired.R.Evid_
401, 402)
5L 7/3/13 emaii from Teresa DeLoach Reed to Winnie Teresa DeLoach Reed 3/':/15_'3'EF
Anderson, i_aWanna Preston, Deanna Santana re Local gigl:rcntl:f;te
55 (OAK 1054-1055) Document
iFed.R.Evid.
1051

 

 

 

 

 

 

 

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 78 of 122

DARRYELLE LAWANNA PRESTON v. C|TY OF OAKLAND, DEANNA SANTANA
UN|TED STATES DISTR|CT COURT
NORTHERN DiSTR|CT OF CALlFORN|A
COURT CASE NO. 14-CV-02022»NC

Jury Triai: Monday, September 14, 2015

JO|NT TR|AL EXHIB|T l_lST

 

 

 

 

 

 

 

 

 

5i\/i 7/5/13 emaii from Deanna Santana to Teresa DeLoach Deanna Santana 3/5/15 DEF

Objf-_‘Ction:
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Reed re PSP (OA|< 1053)

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401, 402)

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5i\i 8/6/13 emaii from Deanna Santana to Katano Kasaine, Deanna Santana 3/5/15 DEF

. Ob]eCtion:
Donna i-iorn, Aie)<andra Orologas, LaWanna Preston, Katano Kasaine Foundation

Scott Johnson re TPT-ppt workp|an (LP 321) [Fed.a.svid.
502

Reievance
{Fed.R.Evid.
401, 402)

Hearsay
iFed.R.Evid.
801-803)

 

50 8/19/13 emaii from Arturo Sanchez to `i'rinette 6ist~ Teresa 0eLoach Reed 3/5/15 DEF

Si<inner, Scott iohnson, Amber Todd, Teresa 0eLoach §;l::;:;

Reed re FW: PSP vote (OA|< 6982~6983) iFed.R_Evid.
401,402)

Hearsay
iFed.R.Evid.
801-803)

 

 

 

 

 

 

 

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 79 of 122

DARRYELLE LAWAN NA PRESTON v. C|TY OF OAKLAND, DEANNA SANTANA
UNiTED STATES DlSTRlCT COURT
NORTHERN D|STRICTOF CAL|FORN|A
COURT CASE NO. 14-CV-O2022-NC

Jury Triai: Monday, September 14, 2015

JOlNT `l`RiAl. EXH|B|T LlST

 

 

 

 

 

 

 

 

 

 

 

 

 

5P 10/14/13 emaii from Barbara Pari<er to Joe Keffer, loe Keffer 3/5/15 DEF

h` ` :
0eanna Santana, 00nna i-iom, Aie)<andra Orologas re Ee|j::;'nocne
TPT Dues 6rievance (E)<h. 11 to Keffer Deposition) (Fed.R.Evid.
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(Fed.R_Evid.
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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 80 of 122

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 81 of 122

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Attorneys for Defendants
CITY OF OAKLAND and DEANNA SANTANA

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

DARYELLE LAWANNA PRESTON Case No. C14-02022 NC
Plaintiff, DEFENDANT’S DISCOVERY EXCERPTS
LIST
vs.
Date: August 19, 2015
CITY OF OAKLAND; DEANNA Time: 11:00 a-m.
SANTANA, in her individual capacity; and Courtroom: D
DOES 1-10, inclusive Judge: Hon. Nathaniel Cousins,
Magistrate Judge
Defendants.

 

 

Action Filed: March 17, 2014
Trial Date: September 14, 2015

 

 

 

DEFENDANT’S I)ISCOVERY EXCERPTS LlST (Case No. C14-02022 NC)

 

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 82 of 122

Defendants City of Oakland (the “City”) and Deanna Santana (“Santana”) (eolleetivelyJ
the “Parties”) hereby proposes the following discovery excerpts for use at trial:
1. Plaintiff’s Response to Defendant City of Oal<land’s Request for Admissions, Set
One, No. 1.

DATED: August 12, 2015 LAFAYETTE & KUMAGAI LLP

/S/ Gari) T. Lafavetl‘e

GARY T. LAFAYETTE

Attorneys for Defendants

CITY OF OAKLAND and DEANNA SANTANA

 

 

 

 

DEFENDANT’S DISCOVERY EXCERPTS LlST (Case No. C14-02022 NC)

 

Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 83 of 122

ATTACHMENT H

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 84 of 122

LAFAYETTE & KUMAGAI LLP

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Ati'Omeysfor Deféndanrs
CITY OF OAKLAND and DEANNA SANTANA

UNITED STATES DISTRlCT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

DARYELLE LAWA_NNA PRESTON,
Plaintit`f,

v.

CITY OF OAKLAND; DEANNA

SANTANA, in her individual capacity; and

DOES 1 through 10J inclusive,

Defendants.

 

 

 

Case No. 3:14»0\!“02022 NC

DEFENI)ANT’S OB.]ECTIONS TO
PLAINTIFF’S LIST OF DISCOVERY
EXCERPTS

Final Pretrial Conference Date:

August 19, 2015

Time: 11:00 a.rn.

Courtroorn: D (San Franciseo)
Magistrate Judge: Nathanae] M. CouSinS

 

 

DEFENDANT’S OB.]ECTIONS TO PLA]NT[FF’S LIST OF DISCOVERY EXCERPTS

(Case No. 3:14-cv~02022 NC)

 

LAFAYETTE B-r KUMAGAI LLP

LA\'\i'

ATTORNEYS AT
MISSION sTREET, suits 600

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mix (415) 35744605

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 85 of 122

Defendants City of Oakland (the “City”) and Deanna Santana (“Santana”), hereby object
to Plaintiff Daryelle Lawanna Preston’s (“Plaintift”) List of Discovery Excerpts.
Plaintiff`s discovery excerpts were received only hours before the parties’ Trial Readiness
Binder was due to be filed and while counsel for Defendants was preparing all of the documents
for that binderJ including documents provided by Plaintiff. As a result, Defendants have not had
an opportunity to review and to meet and confer with Plaintiff regarding the excerpts as required
by the Court’s Pretrial Preparation Order dated July 20, 2015 . Under the circumstances, counsel
for Plaintiff stipulated they would agree that Defendants’ Obj ections could be filed later, and
Defendants will provide more specific objections to Plaintifi`s discovery excerpts prior to the
pretrial conf erence.
Notwithstanding, Defendants submit the following general Objections to Plaintiffs
Discovery Excerpts in their entirety:
1. As set forth above, Plaintiffs excerpts are untimely
2. Plaintiff improperly cites to the deposition transcripts of Witnesses Joe Keffer and
Phillip Larnont Ewell, who have not been shown to be unavailable (F.R.C.P.
Rule 32(a)(4))

3. The excerpts are lacking in relevance. (Fed.R.Evid. 401, 402)

4. The excerpts constitute evidence of subsequent remedial measures (Fed.R.Evid.
407)

5 . Plaintiffs excerpts consist of inadmissible hearsay. (Fed. R. Evid. 801-803)

6. The excerpts constitute improper character evidence (Fed. R, Evid. 404)
7. The excerpts constitute improper opinion and speculation (Fed. R. Evid. 602,
701)

Dated: August 12, 2015 LAFAYETTE & KUMAGAI LLP

/s/Aj$'i'ca E. Davi`dson
AFRICA E. DAVIDSON
7 Attorneys for Defendants

CITY OF OAKLAND and DEANNA SANTANA 2

 

 

 

DEFENDANT’S OBJECTIONS TO PLA[NTIF§F’S LIST OF DISCOVERY EXCERPTS
(Case No. 3:14-cv-02022 NC)

 

Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 86 of 122

ATTACHMENT l

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 87 of 122

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DARYELLE LAWANNA PRESTON

UNITED S'I`ATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

DARYELLE LAWANNA PRESTON,
Plaintiff,

vs.

SANTANA, in her individual capacity; an

DOES 1 through 10, inclusive,

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CITY OF OAKLAND; DEANNA §
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Defendants. §

 

 

 

Case No. 3:14~CV-o2022 NC

PLAINTIFF’S DISCOVERY EXCERP'I`
LIST

Pretrial conference: August 19, 2015
Time: 2:00 p.m.

Courtroom A, 15th Floor

Judge: Honorable Nathanael M. Cousins

Trial Date: September 14, 2015

PLAINTIFF DARYELLE LAWANNA PRESTON hereby proposes the

following exhibits to be offered at trial:

 

No. Description

Stipulations/
Objections

 

 

Set One, No.2, Noveinber 26, 2014

1. Defendants’ Response to Plaintiff’S Special lnterrogatories,

 

 

Set One, No.3, Novernber 26, 2014

2. Defendants’ Response to Plaintiffs Special Interrogator'ies,

 

 

 

 

3. Defendants’ Supplementai Response to Plaintiff’s Special

 

 

 

 

Preston v. City of Oakland, et al., No. 3:14-CV~02022 NC

Plaintiff’ s Disoovery Excerpt List - 1

 

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 88 of 122

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No. DeScription Stipulations/
Objec’u`ons

lnterrogatories, Set One, No.3, January 23, 2015

4. Deposition of Joe Keffer, pg. 12:1-17

5. Deposition of Joe Keffer, pgs. 21:22~22:2

6. Deposition of Joe Keffer, pgs. 24:18-26:10

7. Deposition of Joe Keffer, pg. 26:17-23

8. Deposition of Joe Keffer, pg. 27:5-14

9. Deposition of Joe Keffer, pgs. 27:24-28:8

10. Deposition of Joe Keffer, pg. 28:12-24

11. Deposition of Joe Keffer, pg. 30:11-13

12. Deposition of Joe Keffer, pg. 30:18~24

13. Deposition of Joe Keffer, pg. 32:16-21

14. Deposition of Joe Keffer, pgs. 34:18-35:25

15. Deposition of Joe Keffer, pg. 36:10-23

16. Deposition of Joe Keffer, pg. 38:13-25

17. Deposition of Joe Keffer, pgs. 40:15-41:4

18. Deposition of Joe Keffer, pgs. 41:13-42:8

19. Deposition of Joe Keffer, pgs. 43:22-44:5

20. Deposition of Joe Keffer, pgs. 46:17-48:10

21, Deposition of Joe Keffer, pgs. 54:10~55:4

22. Deposition of Joe Keffer, pgs. 55:17-56:19

23. Deposition of Joe Keffer, pgs. 58:2-60:2

24. Deposition of Joe Keffer, pgs. 65:11-66:1

 

 

 

 

 

 

 

 

Preston 1). City of Oakl_'and, et al., No. 3:14-CV-02022 NC
Plaintift’s Discovery Excerpt List ~ 2

 

 

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15

Page 89 of 122

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No. Description Stipulations/
Objeetions
25. Deposition of Joe Keffer, pgs. 72:21-74:17
26. Deposition of Joe Keffer, pgs. 75:7-76:3
27. Deposition of Joe Keffer, pgs. 77:12-18
28. Deposition of Joe Keffer, pgs. 77:23-79:15
29. Deposition of Joe Keffer, pg. 80:9-21
30. Deposition of Lamont EWell, pg. 6:20-9:14
31. Deposition of Lamont Ewell, pgs. 9:25-10:10
32. Deposition of Lamont Ewell, pg. 11:11~15
33. Deposition of Lamont EWell, pgs. 17:21-18:2
34. Deposition of Lamont Ewell, pg. 18:17”19:1
35. Deposition of Lamont Ewell, pgs. 20:9-21:1
36. Deposition of Lamont Ewell, pgs. 21:19-22:3
37. Deposition of Lamont Ewell, pg. 22:20-24:14
38. Deposition of Lamont Ewell, pg. 25:22-26:1
39. Deposition of Lamont Ewell, pg. 26:12-28:22
40. Deposition of Lamont Ewell, pg. 30:15-35:11
41. Deposition of Lamont EWeli, pg. 38:10-20
42. Deposition of Lamont Ewell, pg. 39:22-40:7
43. Deposition of Lamont Ewell, pg. 41:3»17
44. Deposition of Lamont Ewell, pg. 42:8-16
45. Deposition of Lamont Ewell, pg. 43:18~44:3
46. Deposition of Lamont EWe]l, pg, 48:21-51:17

 

 

 

 

 

 

Preston 1). City of Oakl.'and, et al., No. 3:14-CV-02022 NC
Plaintiffs Discovel'y Excerpt List - 3

 

 

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 90 of 122

 

NO. Description Si;ipulations/
Objections

 

47. Deposition of Lamont Ewell, pg. 51:6-20

 

 

 

 

 

48. Deposition of Lamont Ewell, pg. 65:22-67:22

 

 

Dated: August 11, 2015
SIEGEL 86 YEE

By: /s/Dan Sr'eqei
Dan Siegel

Attorneys for Plaintiff
Daryelle LaWanna Preston

 

 

 

Preston U. City Of Oakfand, et al., No. 3:14~CV-02022 NC
Plaintift’s Discovery E.xcerpt List » 4

 

Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 91 of 122

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 92 of 122

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CITY OF OAKLAND and DEANNA SANTANA

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

DARYELLE LAWANNA PRESTON
Pl.aintiff,

vs.

CITY OF OAKLAND; DEANNA

SANTANA, in her individual capacity; and

DOES 1~10, inclusive

Defendants.

 

 

Case No. 3:14-cv-02022 NC

JOINT PROPOSE]) VOIR DIRE
QUESTIONS

Courtroom: D, San Francisco Courthouse

ludge: Hori. Nathanael M. Cousins
Pretrial Conference: August 19, 2015
Trial Date: September 14, 2015

Action Filed: March 17, 2014

 

JOINT PROPOSED VOLR DIRE QUESTIONS (Case No. 3:14~cv-02022 NC)

 

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 93 of 122

Plaintiff DARY`ELLE LAWANNA PRESTON and defendants CITY OF OAKLAND
and DEANNA SANTANA submit the following proposed voir dire questions

1. ln the trial of this case, the parties are entitled to have a fair, unbiased and
unprejudiced jury. If there is any reason why any of you might be biased or prejudiced against
any of the parties or their attorneys in any way?

2. This trial will likely take two weeks to complete, but it may take longer. Will any
of you find it difficult or impossible to participate for this period of time?

3. Do you have any physical problems, conditions or restrictions that make it very
difficult for you to serve as a juror?

4. Are you taking any med.ication, drugs or other substances that will prevent you
from hearing and remembering testimony or seeing evidence?

5 . Ms. Preston is represented by Dan Siegel and Sonya Mehta of the law firm of
Siegel & Yee. The City of Oakland and Deanna Santana are represented by Gary T. Lafayette,
Susan T. Kumagai and Africa E. Davidson of Lafayette & Kumagai LLP.

(a) Have you heard of, or are you acquainted with Daryelle Lawanna Preston,
Deanna Santana and/ or the attomeys in this case?
6. During the trial of this case, other names you may hear are:
(a) Winnie Anderson
(b) Fred Blackwell
(c) Desley Brooks
(d) Barry Donelan
(e) Tiana (T.C.) Everett
(D Phillip Lamont Ewell
(g) Chuck Garcia
(h) Trinett Gist-Skinner
(i) Andrea Gourdine
(j) Deborah Grant

(k) Donna Hom

 

JOINT PROPOSED VOIR DIRE QUESTIONS (Case NO. 3:14-cv-02022 NC) 2

 

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(l) Yvonne Hudson
(m) Scott Johnson
(n) Howard Jordan
(o) Kitano Kasaine
(p) Joe Keffer

(q) Sonia Lara

(r) Dan Lindheim
(s) John Lois

(t) Dwight McElroy
(u) n Otis McGee

(v) Emily Morrison
(w) Alexis Ologoroz
(x) Barb ara Parker
(y) J can Quan

(Z) Teresa Reed

(aa) Dan Robertson
(bb) Courtney Ruby
(cc) Arturo Sanchez
(dd) LaTonda Sirnmons
(ee) Sandre Swanson
(ff) Chei'yl Ihompson

Have you heard of, or been acquainted with, any of these people? lf so, please explain

Do you have knowledge concerning the facts or events in this case? lf so, what do you know?

7. Do you believe that a case of this nature should not be brought into court for

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determination by a jury?

8. Have you, or any member of your family, or someone close to you ever had any

connection with or any dealings with the City of Oakland?

(H)

lf so, what?

 

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(b) Will it affect your ability to be fair and impartial?

9. Are you, or any member of your family or someone close to you related to any
official or employee of the City of Oakland? lf so, explain Will this relationship affect your
ability to be fair and impartial?

10. Have you, or any member of your family, or someone close to you, ever had a
negative experience with the City of Oakland?

11. Would you as a juror be inclined to treat the City of Oakland differently than
another employer?

12. Do you have any belief or feeling for or against government entities that might

prevent you from being a completely fair and impartial juror in this case?

13. Have you ever been employed by a government entity?
14. Do you feel that you have ever been wronged by a government entity? Explain.
15. lf someone has a complaint or a criticism about a govermnent entity, do you tend

to believe that that complaint or criticism is correct?
16. Do you have any particular feelings or beliefs about government employees?
17. Have you, or any members of your family, or anyone close to you, ever sued
anyone, or presented a claim against anyone, in connection with a matter similar to this case?
(a) lf so, is there anything about the experience that will interfere with your
ability to be fair and impartial?
(b) Did the matter end satisfactorily as far as you are concemed?
(c) What was the nature of the claim‘?
18. Has anyone ever sued or presented a claim against you, or any member of your
famiiy, or anyone close to you, in connection with matters similar to this case?
(a) If so, is there anything about the experience that will interfere with your
ability to be fair and impartial?
(b) Did the matter terminate satisfactorily as far as you are concerned?
(c) What was the nature of the claim‘?

19. Are you, or any member of your family, or anyone close to you, presently

 

 

JOINT PROPOSED VOlR DIRE QUESTIONS (Case No. 3:14-cv-02022 NC)

 

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incident

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involved in a lawsuit of any kind?

Have you ever testified as a witness in any hearing or court?

Have you ever served on a jury?

(a) lf yes, when and where did you serve?

(b) What kind of case did you hear?

(c) Did the jury reach a verdict? Did you serve as a jury foreperson?
(d) Was your jury service a positive or negative experience?

Have you been to court for a reason other than jury duty?

Please describe your formal education

Have you, or any member of your family, or anyone close to you, had any special

training in law? if so, please describe.

Do you have any experience or training in:

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31.

(a) Human Resources;

(b) Workplace investigations;

(c) Union matters; or

(d) Government legislative matters.

Have you ever felt you were retaliated against by your employer? Describe the

Have you, or any member of your family, or anyone close to you, ever complained

(a)

(b)

to an employer of retaliation by your employer or co-workers?

What was the nature of the complaint and how was the matter resolved?

Will the experience affect your ability to be fair and impartial in this case?

Have you ever known anyone who Was terminated or discharged from a job?

Has your employment or the employment of any family member, or anyone close

to you, ever been terminated for poor job performance?

When you hear an employee has been discharged, do you tend to think he or she

was mistreated?

Have you or has anyone in your family ever filed a complaint or a claim against

 

 

JOINT PROPOSED VOlR DIRE QUESTIONS (Case No. 3:14-cv-02022 NC) 5

 

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your employer?

32. Have you ever had any training or have you worked in Labor Relations?

33. Did you ever have the experience of terminating someone’s employment? Please
explain How did you feel about that experience?

34. Ms. Preston, the plaintiff in this case, is asking for damages to compensate her for
losses she claims she suffered as a result of her termination by the City of Oakland. What are
your feelings about the concept of someone paying money damages to correct a wrong?

35. Ms. Preston is going to be asking for money to compensate her for emotional
distress How do you feel about the concept of quantifying in dollars the amount of emotional
distress someone may have suffered?

36. Do you feel that money damages awarded in lawsuits are excessive?

37. Have you or has anyone close to you ever been accused of retaliation against an
employee or otherwise treating an employee unfairly at work?

38. Have you ever worked for a company that was sued by an employee for any type
of employment related claim?

39. Have you, or any member of your family, or anyone close to you, ever been a
member of a union?

(a) What union?
(b) Did you, or person you know, hold an official position with the union?

40. What is your occupation? Where are you employed? If you are retired, what was
your occupation? If you are unemployed, what was your most recent occupation?

(a) Do you have, or have you ever held, a management, supervisory or human
resources position?

Cb) How many people do you or did you supervise or oversee?

(c) Are you or were you involved in hiring, promoting or firing of employees?

(cl) Are you or were you involved in evaluating the job performance of other
employees?

(e) Are you or were you involved in investigating workplace complaints?

 

 

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4],. Have you ever held a position in any government legislative body?
(a) What is, was your position?
(b) What isJ was the legislative body?

(c) What were your duties?

 

42. What is your marital status?

(a) If you are married, what is the occupation of your spouse? Where is your
spouse employed? Is your spouse’s job considered a management
position? If so, how many people does he or she currently manage? Has
your spouse ever had a job that was considered a management position? lf
so, how many people did he or she manage?

43. Do you have children? if so, how many? lf you have any adult children, what are
their occupations?

44. In which city do you live? (Do not give your address.) How long have you lived
in Northern California?

45. Do you believe that when a party files a lawsuit for wrongful termination it

probably means that party was wrongfully terminated?

46. What magazines do you like to read?

47. What was the last book you read? Did you enjoyit?

48. What was the last movie you saw?

49. Do you think you would be a good juror in this case? Why or why not?

50. Will you follow the instructions of the court and its rulings on the law even if you

do not agree with them?
51. Are you, or have you ever been a member of any group, board or agency that
concerns civil rights or employment relations?
(a) lf so, identify the group, board or agency and what it does?
(b) ls there anything about your experience that will interfere with your ability
to be fair and impartial?

52. What social, civic, professionalJ trade, or other organizations are you affiliated

 

 

JOINT PROPOSED VOlR DIRE QUESTIONS (Case No. 3:14»cv-02022 NC) 7

 

 

 

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with? Have you held any offices within these organizations?

53. Do you know anyone else on this jury panel?

54. Do you believe in the jury system? Why?

55. At this stage of the case are you leaning in favor of either party?

56. Do you know of any reason why you cannot give either plaintiff Lawanne Preston

or defendants City of Oakland and Deanna Santana a fair trial?

DATED: August 12, 2015

DATED: August 12, 2015

DATED: August 12, 2015

SIEGEL & YEE

/s/ Dan Si'egei,'
Dan Siegel
Attorneys for Plaintiff
DARYELLE LAWANNA PRESTON

CITY OF OAKLAND

/'s/ Oti`s McGee, Jr.
Otis McGee, Jr.
Attorneys for Defendants
CITY OF OAKLAND and DEANNA SANTANA

LAFAYETTE & KUN_[AGAI LLP

/s/ Garv T. Lafayeti‘e

Gary T. Lafayette
Attoineys for Defendants
ClTY OF OA_KLANDand DEANNA SANTANA

 

JOINT PROPOSED VOlR DIRE QUESTIONS (Case No. 3:14-cv-02022 NC) 8

 

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Case 3:14-cv-02022-NC Document 106 Fiied 08/11/15 Page 101 of 122

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Facsimile: (415) 357-4605

Attorneys for Defendants

DARYELLE LAWANNA PRESTON,
Plaintiff,
v.

ClTY OF OAKLAND; DEANNA
SANTANA, in her individual capacity; and
DOES l through 10, inclusive,

Defendants.

 

 

CITY OF OAKLAND and DEANNA SANTANA

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALlFORNlA

Case No. 3:14-cv-02022 NC

JOINT PROPOSED JURY
QUESTIONNAIRE

Courtroom: D, San Francisco Courthouse
ludge: Hon. Nathanael M. Cousins
Pretrial Conference: August 19, 2015
Trial Date: September 14, 2015

Action Filed: March 17J 2014

 

 

JOINT PROPOSED JURY QUESTIONNAIRE (Case No. 3:14-cv-02022 NC)

 

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GENERAL QUESTIONS

PLEASE PR_[NT ALL ANSWERS LEG[BLY

FULL NAME:

 

1.1_ Date and place of birch

 

 

1.2. Where you currently live? Do you: own?

years (and dates):

rent?

1.3. Area(s), neighborhood(s), or community(ies) where you have lived in the past 10

 

 

1.4. What is the highest level of education you completed?

 

Grade school or less
Some high school
High school graduate

Some college (major)

 

College graduate (major)

 

Postgraduate study (major)

 

Technical, vocational, or business school (major)

Other (please explain)

 

 

1.5. 1f you plan to attend or are currently attending school, describe:

 

 

 

 

fields (including psychiatry, psychology, or marriage and family counseling), describe:

1.6. 1f you have taken any courses or had any training in medicine or other health care

 

 

 

JOINT PROPOSED JURY QUESTIONNAIRE (Case No. 3:14-cv-02022 NC)

 

 

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1.7. lf you have taken any courses or had any training in law or a related Subject,

describe:

 

 

 

1.8. Education background of any other adult who lives in your home, including any

degrees or certificates earned:

 

 

 

1.9. You.r present employment status (check all that apply):
Employed full-time

Employed part-time

Homemaker

Retired

Student

Unemployed, looking for work

Unemployed, not looking for work
Permanently disabled from working
Temporarily disabled from working

Other (explain)

 

 

 

 

1.10. Your current or most recent occupation:

 

 

 

 

JOINT PROPOSEI) JURY QUESTIONNAIRE (Case No. 3:14-cv-02022 NC)

 

 

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1.11. How long have you been at your current job, unemployed, student, retired,
homemaker or disabled? years.
1.12. How are you paid by your employer? (If not currently working, your previous
job.) Check one:
Hourly
Salary
Hourly/salary
Commission only
1.13. Name of your most recent employer or, if a student, your school:
1.14. What are your specific duties and responsibilities on thejob‘?
1.15. Does your job involve supervising other people? Yes No
lf yes, approximately how many?
1.16, Are you involved in the hiring or firing of other employees:
Yes No
1.17. The current or most recent occupation of any adult who lives in your household: g
1.18. The current or last employment of any adult who lives in your household:

 

 

 

 

 

JOINT PROPOSED JURY QUESTIONNAIRE (Case No. 3:14-cv-02022 NC)

 

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before?)

with you):

Gender

 

1.19.

1.20.

1.21.

What are/were the occupations of your parents? (if retired, what did they do

Mother:

 

Father:

 

lf you have children, please list (including any children who do not currently live

Does child
Age live with you Education Occupation

lf you or any adult who lives in your household has ever served in the military,

 

 

 

 

 

 

 

 

 

please list for each the branch of service and dates of service:

1.22. What social, civic, professional, trade, or other organizations are you affiliated
with?

1.23. Describe any offices you have held in organizations listed above:

1.24. Do you know anyone else on this jury panel?

 

 

 

 

JOINT PROPOSED JURY QUEST!ONNAI`RE (Case No. 3:14-cv-02022 NC)

 

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1.25 How many cases have you served on ajury?

 

Where did you serve on ajury?

 

 

What kinds of cases did you hear while serving on a jury?

 

 

111 how many of those cases did the jury reach a verdict?

 

 

fn how many of those cases did you serve as the jury foreperson?

 

Was your jury service a positive or negative experience?

 

 

 

1.26. Describe any problems (vision, hearing or other medical problems) that may affect

your jury service:

 

 

 

1.27. if you or anyone close to you has ever made any type of claim for damages,

explain:

 

 

 

1.28. If a claim for money damages has ever been made against you or anyone close to

you, explain the circumstances:

 

 

 

 

 

 

JOINT PROPOSED JURY QUESTIONNAIRE (Case No. 3:14-cv-02022 NC)

 

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1.29. lf you or anyone close to you has ever sued or been sued in any type of lawsuit,

exp lain :

 

 

 

1.30. Do you feel that money damages awarded in lawsuits are (Check One):

m Excessive :] Occasionally too low
l:l Often too large l:l Often too low
l:l About right l:l Other (specify)

 

1.31. lf you have any ethicalJ religiousJ political, or other beliefs that may prevent you

from serving as a juror, explain:

 

 

 

2.1. Place a check mark on the appropriate line(s) if you or anyone close to you has
ever been employed in any capacity by any of the following types of businesses:

Yourself Other Person
Any court in the State of California

Attorney, law firm, or law office

g Claims adjustmentJ evaluation, review, settlement, or
investigation

Accident investigation or law enforcement

Disability, health, lifeJ casualty, or accidental injury
benefits or programs

Economics, actuarial, or investments

Health care doctor, nursing, hospital, dental, counseling,
therapy, pharmacy, psychology, or any related field

Department of Fair Employment and HousingJ Equal
Employment Opportunity Commission

2.2. if you checked any line in the previous question (2.1), please state the relationship

of that person to you, the type and details of that employment and the years of that employment

 

JOINT PROPOSED JURY QUESTIONNAIRE (Case No. 3:14-cv-02022 NC)

 

 

 

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2.3. Do you have any beliefs against awarding damages for personal injury, pain or

suffering, or emotional distress? Yes No

lf yes, explain:

 

 

 

 

3.1. ln the trial of this case, the parties are entitled to have a fair, unbiased and
unprejudiced jury. If there is any reason why you might be biased or prejudiced in any way, you
must disclose such reasons when you are asked to do so. lt is your duty to make this disclosure.

Please explain

 

 

 

 

 

This trial will likely take 10 to 12 days to complete, but it may take longer.
Will you find it difficult or impossible to participate for this period of time?

Yes No

Please explain:

 

 

 

 

3.2. Are you taking any medication or drugs which will prevent you from hearing and
remembering testimony or seeing evidence?
Yes No

3.3. Plaintiff is represented by Dan Siegel and Sonya Mehta. Defendants City of

 

JOINT PROPO SED JU'RY QUESTIONNAI`RE (Case No. 3:14-cv-02022 NC)

 

 

 

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Oakland and Deanna Santana are represented by Gary T. Lafayette, Susan T. Kumagai and Africa
E. Davidson of the law firm of Lafayette & Kumagai LLP.

(a) Have you heard of, or are you acquainted with any of these parties,
plaintiffs attorney, or the defendant’s attorneys?

Yes No

Please explain:

 

 

 

 

 

3.4. During the trial of this case, the following individuals may be called as witnesses:

1. Winnie Anderson

2. Fred Blackwell

3. Desley Brooks

4. Barry Donelan

5. Tiana (T.C.) Everett
6. Phillip Lamont Ewell
7'. Chuck Garcia

8. Trinett Gist-Skinner
9. Andrea Gourdine
10. Deborah Grant

1 1. Donna Hom

12. Yvonne Hudson

13. Scott .lohnson

14. Howard Jordan

15. Kitano Kasaine

16. Joe Keffer

17. Sonia Lara

 

JOINT PROPOSED JURY QUESTIONNAIRE (Case No. 3:14-cv~02022 NC)

 

 

 

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(a)

Yes

Please explain:

Dan Lindheim
John Lois
Dwight McElroy
Otis McGee
Emily Morrison
AleXis Ologoroz
Barbara Parl<er
Jean Quan
Teresa Reed
Dan Robertson
Courtney Ruby
Arturo Sanchez
LaTonda Simmons
Sandre Swanson

Cheryl Thompson

Have you heard of, or been acquainted With, any of these people‘?

No

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3.5.

Yes

Please explain:

No

Do you have knowledge concerning the facts or events in this case?

 

 

 

 

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JO]'N`T PROPOSED JURY QUESTIONNAIR_E (Case No._ 3:14-cv-02022 NC)

 

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3.6. Do you believe that a case of this nature should not be brought into court for

determination by a jury?

Yes No

Please explain:

 

 

 

 

3.7. Do you have any belief or feeling towards any of the parties, attorneys or

Witnesses that might be regarded as bias or prejudice for or against any of them?

Yes No

Please explain:

 

 

 

 

3.8. Do you have any interest, financial or otherwise, in the outcome of this case?

Yes No

Please explain:

 

 

 

 

 

3-9. Have you served as a Witness involving any of these parties, attorneys or

witnesses?

Yes No

Please explain:

 

 

 

(a) Will it affect your ability to be fair and impartiai?

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JOINT PROPOSED JURY QUESTIONNAIRE (Case No. 3:14-cv-02022 NC)

 

 

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Yes No
Please explain:
3.10. Have you or any member of your family or close friends ever been employed by
the City of Oakland?
Yes No

Please explain:

 

 

 

(a) Will this relationship affect your ability to be fair and impartial?

Yes No

Please explain:

 

 

 

3.11. Have you ever done business with the City of Oakland?

Yes No

Please explain:

 

 

 

(a) Have you had any problems With the City of Oakland?

Yes No

Please explain:

 

 

 

 

(b) How was it resolved?

 

 

 

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JOINT PROPOSED .]`URY Q`UESTIONNAIRE (Case No. 3:14-cv-02022 NC)

 

 

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(c) Will your experience in any way affect your ability to be fair and impartial?

Yes No

Please explain:

 

 

 

3.12. The fact that a government entity is a party in this case must not affect your
deliberations or your verdict. You may not discriminate between a government entity and natural
individuals. Both are persons in the eyes of the law and both are entitled to have a fair and
impartial trial based upon the same legal standards Do you have any belief or feeling for or
against government entities that might prevent you from being a completely fair and impartial

juror in this case‘?

Yes No

Please explain:

 

 

 

3.13. ls there anything about this case, i.e.J the parties involved or the subject matter,

which makes it difficult for you to serve as a fair and impartial juror?

Yes No

Please explain:

 

 

 

3.14. Have you, or any members of your family or close friends ever sued anyone, or

presented a claim against anyone, in connection with a matter similar to this case?

Yes No

Please explain:

 

 

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JOINT PROPOSED .]URY QUESTIONNAIRE (Case No. 3:14-cv-02|]22 NC)

 

 

 

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(a) How was it resolved?

 

(b) Will your experience in any way affect your ability to be fair and iinpartial‘?

Yes No

Please explain:

 

 

 

3.15. Has anyone ever sued you, or any member of your family or close friends, or

presented a claim against you, in connection with matters similar to this case?

Yes No

Please explain:

 

 

 

(a) How was it resolved?

 

(b) Will your experience in any way affect your ability to be fair and impartial?

Yes No

Please explain:

 

 

 

3.1_6. Have you ever hired an attorney or talked to an attorney about a problem?

Yes No

Please explain:

 

 

 

3.17. Do you have any experience in personnel matters, such as retaliation?

Yes No

Please explain:

 

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JOINT PROPOSED JURY QUESTIONNAIRE (Case No. 3:14-cv-02022 NC)

 

 

 

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an incident of retaliation in the workplace?

Yes No

Please explain:

3.18. Have you, or any member of your family or close friends, ever been involved in

 

 

 

 

(a) Was a claim or lawsuit filed?

Yes No

Please explain:

 

 

 

(b) How was it resolved?

 

(c) Were you satisfied with how it was resolved?

Yes No

Please explain:

 

 

 

 

Yes No

Please explain:

(d) Will your experience in any way affect your ability to be fair and impartial?

 

 

 

3.19. Have you, or any member of your family or close friends, ever made a complaint

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of retaliation against an employer and/or a co-worker?

Yes No

Pleasc explain:

 

 

 

(a) flow was it resolved?

 

(b) Were you satisfied with how it was resolved?

Yes No

Please explain:

 

 

 

(c) Will your experience in any way affect your ability to be fair and impartial‘?
3.20. Are there any kinds of lawsuits, which you think are unfair or unjust, and should

not be brought to court?

Yes No

Please explain:

 

 

 

3.21. What do you think about people who bring lawsuits?

 

 

 

3.22. lf you thought you were discriminated or retaliated against, would you consider

bringing a lawsuit?

Yes No

Please explain:

 

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JOINT PROPOSEI) .]URY QUES'I`IONNAIRE (Case No. 3:14-cv~02022 NC)

 

 

 

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3.23. What do you think about the jury system?

 

 

 

3.24. Do you believe that when a party files a lawsuit against his or her current or
former employer for retaliation, it probably means that party has been retaliated against by the

employer?

Yes No

Please explain:

 

 

 

3.25. lt is important that the parties have your assurance that you will, without
reservation, follow the instructions ofthe court and its rulings on the law and apply that law to
this case. Whether you approve or disapprove of the court's rulings or instructions, it is your
solemn duty to accept as correct these statements of the law. You may not substitute your own
ideas of what you think the law ought to bet Will you follow the instructions of the court and its

rulings on the law and apply that law to this case?

Yes No

3.26. Do you know of any other reason, or has anything occurred during the questioning
period, that might make you doubtful you would be a completely fair and impartial juror in this

case? lfthere is, it is your duty to disclose the reasons at this tirne.

Yes No

Please explain:

 

 

 

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JOINT PROPOSED JURY QUESTIONNAIRE (Case No. 3:14~cv-02022 NC)

 

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3.27. Are you an officer cfa corporation?

Yes No

Please explain:

 

 

 

(a) ls there anything about your experience that will interfere with your ability to be

fair and impartial?

Yes No

Please explain:

 

 

 

3.28. Have you, or any relatives or close friends, ever owned a business of any kind?

Yes No

Please explain:

 

 

 

3.29 Have you or anyone close to you ever been a member of a union?

Yes No

Please explain:

 

 

 

3.30. Have you or anyone close to you ever held a position with a union such as an

officer or steward?

Yes No

Please explain:

 

 

 

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JOINT PROPOSEI) J'URY QUESTIONNAlRE (Case No. 3:14-cv-02022 NC)

 

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3.31 Do you have strong feelings, whether positive or negative, toward unions or union

members ?
Yes No

Please explain:

 

 

 

3.32. Have you or anyone close to you ever held a position wherein you participated in

negotiations leading to agreements between a union and an employer?
Yes No

Please explain:

 

 

 

3.33. Have you or anyone close to you held a legislative position for a municipality,

state, and/or the United States government?
Yes No

Please explain:

 

 

 

3.34. Have you or anyone close to you ever been a member of a city council?
Yes No

Please explain:

 

 

 

3.3 5 . What is your primary source of news?

 

 

 

3.36. Will you be able to be a fair and impartial juror to both sides involved in this case?

Yes No

Please explain:

 

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3.37. Please use this space to inform the court of any further information you feel

concerns your ability to serve as a trial juror.

 

 

 

 

 

 

 

3.38. `What is your marital status?

First Marriage Widowed Divorced
Second or later marriage Single. Never Married Seoarated

*For how long? years

3 .39. To what extent do you agree or disagree with each of the following statements?

 

a. “There are too many lawsuits.” (Explain)

 

 

 

 

b. “Jury awards are too high.” (Explain)

 

 

 

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JOINT PROPOSED JURY QUESTIONNAIRE (Case No. 3:14-cv-02022 NC)

 

 

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c. “lf it were up to me, lwould change the justice system.” (Explain)

d. “Large corporations or institutions are treated unfairly by our justice system.”
(Explain)

e. “Lawsuits and high damages make companies and institutions act more
responsibly.” (Explain)

f. “lf a lawsuit makes it to trial, there must be some merit to the plaintiffs case.”
(Explain)

 

 

 

 

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JOINT PROPOSED JURY QUESTIONNAIRE (Case No. 3:14-cv-02022 NC)

 

 

 

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VERIFICATION

l, (print name),

 

DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE STATE OF
CALIFORNIA THAT THE FOREGO]_NG RESPONSES 1 HAVE GIVEN ON THlS JUROR
QUESTIONNAIRE, AND ON ANY ATTACHED SHEETS, ARE TRUE AND CORRECT TO
THE BEST OF MY KNOWLEDGE AND BELlEF.

Date: , 2015

 

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